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                         EXHIBIT A
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               In re Pork Antitrust Litigation (Direct Purchaser Action), Case No. 0:18-cv-01776-JRT-HB
                                               EXHIBIT A - Exclusion Report
           #                                 Name 1                             Postmark Date Assigned Claims
      1          Harvest Donut & Bakery                                        4/4/2021
      2          Eickhoff Enterprises, Inc.                                    4/7/2021
      3          Vogel's Party Store                                           4/5/2021
      4          Northwestern Selecta, Inc.                                    4/8/2021
      5          E & S Sales                                                   4/9/2021
      6          Plunkett's Pest Control                                       4/12/2021
      7          Belstra Milling Company                                       4/15/2021
      8          Cascade Meats, Inc.                                           4/20/2021
      8-1        Bruce Packing Company, Inc.                                   4/20/2021
      9          Cheney Bros., Inc.                                            4/22/2021
      9-1        Bari Importing Corp                                           4/22/2021
      9-2        Bari Italian Foods                                            4/22/2021
      9-3        Cheney Brother, Inc.- Autofax                                 4/22/2021
      9-4        Cheney Brothers                                               4/22/2021
      9-5        Cheney Brothers Inc.                                          4/22/2021
      9-6        Cheney Brothers Inc N Carolina                                4/22/2021
      9-7        Cheney Brothers Inc.                                          4/22/2021
      9-8        Cheney Brothers Inc. Ocala                                    4/22/2021
      9-9        Cheney Brothers Inc. Riviera                                  4/22/2021
      9-10       Cheney Brothers Punta Gorda                                   4/22/2021
      9-11       Cheney Brothers, Inc.                                         4/22/2021
      9-12       Cheney Brothers- Ocala                                        4/22/2021
      9-13       Cheney Brothers- Punta Gord                                   4/22/2021
      9-14       Cheney Brothers- Riviera BE                                   4/22/2021
      9-15       Grand Western                                                 4/22/2021
      9-16       Grand Western Brands Inc                                      4/22/2021
      9-17       Grand Western Brands, Inc.                                    4/22/2021
      9-18       Meat & Seafood Solutions LLC                                  4/22/2021
      9-19       Meat & Seafood Solutions, LLC                                 4/22/2021
      9-20       Meat &Seafood Solutions                                       4/22/2021
      9-21       Pate Dawson                                                   4/22/2021
      9-22       Pate Dawson Co                                                4/22/2021
      9-23       Pate Dawson Comp- Statesvil                                   4/22/2021
      9-24       Pate Dawson Company                                           4/22/2021
      9-25       Pate Dawson Company- Atlant                                   4/22/2021
      9-26       Pate Dawson Company- Goldsb                                   4/22/2021
      9-27       Pate Dawson Inc                                               4/22/2021
      9-28       Pate-Dawson Co Inc                                            4/22/2021
      9-29       Pate-Dawson Company, Inc.                                     4/22/2021
      9-30       Southern Foods                                                4/22/2021
      9-31       Southern Foods- KY                                            4/22/2021
      9-32       Southern Foods- NC                                            4/22/2021
      9-33       Southern Foods Group LLC- NC                                  4/22/2021
      9-34       Southern Foods Group LLC DBA Southe                           4/22/2021
      9-35       Southern Foods Inc                                            4/22/2021
      9-36       Southern Foods Inc.                                           4/22/2021
      9-37       Southern Foods LLC                                            4/22/2021
      9-38       Southern Foods, Inc.                                          4/22/2021
      9-39       Southern Foods/Bowling Gr                                     4/22/2021
      9-40       Southern Foods/Reinhart BO                                    4/22/2021
      9-41       PDNC, LLC                                                     4/22/2021
      10.        Checkers Drive-In Restaurants, Inc.                           4/22/2021
      10-1       I-Supply Company                                              4/22/2021       X
      10-2       Upper Lakes Foods, Inc.                                       4/22/2021       X
      10-3       DiCarlo Foods                                                 4/22/2021       X
      10-4       Customized Distribution, LLC                                  4/22/2021       X
      10-5       Pocono Produce Co., Inc. DBA Pocono ProFoods                  4/22/2021       X
      11.        Restaurant Services, Inc.                                     4/22/2021
      11-1       McLane Company, Inc. and affiliates                           4/22/2021       X
      11-2       MBM Food Distribution                                         4/22/2021       X
      11-3       Nicholas and Company                                          4/22/2021       X
      11-4       Performance Food Group, Inc.                                  4/22/2021       X
      11-5       Reinhart Foodservice, LLC and affiliates                      4/22/2021       X
      11-6       Lineage Foodservice Solutions, LLC and affiliates             4/22/2021       X
      11-7       Shamrock Foods Company                                        4/22/2021       X
      11-8       Maines Paper and Food Service, Inc. and affiliates            4/22/2021       X
      11A-1      Sysco Corporation                                             4/30/2021       X
      11A-2      SYGMA Network, Inc.                                           4/30/2021       X
      12         Subway Protein Litigation Corp. as Litigation Trustee of the  4/22/2021
                 Subway Protein Litigation Trust and as assignee of certain
                 claims
      12-1       Independent Purchasing Cooperative, Inc.                      4/22/2021       X

      12-2      Cash-Wa Distributing                                         4/22/2021     X

      12-3      Gordon Food Service, Inc.                                    4/22/2021     X

      12-4      Lineage Logistics                                            4/22/2021     X

      12-5      Nicholas & Company                                           4/22/2021     X

      12-6      Performance Food Group, Inc., Including its majority-owned   4/22/2021     X
                subsidiaries
      12-7      Saladino's Inc.                                              4/22/2021     X
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                                                EXHIBIT A - Exclusion Report
             #                                 Name 1                             Postmark Date Assigned Claims
      12-8         Shamrock Foods Company                                        4/22/2021       X

      12-9        Labatt Food Service LLC                                     4/22/2021      X

      12-10       Ed Miniat LLC                                               4/22/2021      X

      12-11       West Liberty Foods, LLC                                     4/22/2021      X

      13.         Lilac Valley Foods                                          5/5/2021

      14.         McLane Company, Inc.                                         5/11/2021
      14-1        McLane Foodservice, Inc.                                     5/11/2021
      14-2        McLane Foodservice Distribution, Inc. f/k/a Meadowbrook Meat 5/11/2021
                  Company, Inc.
      14-3        McCarty-Hull Cigar Company, Inc.                             5/11/2021
      14-4        C.D. Hartnett Company                                        5/11/2021
      14-5        White Castle Purchasing Company                              5/11/2021
      15.         R&E Sales                                                    5/14/2021
      15-1        R&E Market                                                   5/14/2021
      16.         Donut Palace                                                 5/19/2021
      17.         Wawa, Inc.                                                   5/20/2021
      18.         Japan Food Corporation                                       5/17/2021
      19.         CKE Restaurants Holding, Inc.                                5/20/2021
      19-1        McLane Company, Inc.                                         5/20/2021     X
      19-2        McLane Foodservice, Inc.                                     5/20/2021     X
      19-3        McLane Foodservice Distribution, Inc.                        5/20/2021     X
      19-4        Meadowbrook Meat Company, Inc., and their affiliates         5/20/2021     X
      20.         BJ's Wholesale Club, Inc.                                    5/24/2021
      20-1        BJ's Wholesale Club Holdings, Inc.                           5/24/2021
      20-2        Burris Logistics                                             5/24/2021     X
      21.         Jetro Holdings, LLC                                          5/24/2021
      21-1        JRD Holdings, LLC                                            5/24/2021
      21-2        JRD Unico, Inc.                                              5/24/2021
      21-3        Jetro Cash and Carry Enterprises, LLC                        5/24/2021
      21-4        Restaurant Depot, LLC                                        5/24/2021
      21-5        Restaurant Depot Enterprises, LLC                            5/24/2021
      21-6        Jetro Management and Development Corp.                       5/24/2021
      21-7        RD America, LLC                                              5/24/2021
      21-8        RD Mass, Inc.                                                5/24/2021
      21-9        RD United, LLC                                               5/24/2021
      21-10       RD-JET, LLC                                                  5/24/2021
      21-11       JRD IMC, LLC                                                 5/24/2021
      21-12       Jetro Acceptance, LLC                                        5/24/2021
      21-13       Jetro RDNY LLC                                               5/24/2021
      21-14       JRD Holdings, Inc.                                           5/24/2021
      21-15       Jetro JMDH Holdings, Inc.                                    5/24/2021
      21-16       Jetro Holdings, Inc.                                         5/24/2021
      21-17       Jetro Cash & Carry Enterprises, Inc.                         5/24/2021
      21-18       Restaurant Depot, Inc.                                       5/24/2021
      21-19       Jetro MidAtlantic, Inc.                                      5/24/2021
      21-20       RD America, Inc.                                             5/24/2021
      21-21       Jetro Wholesale Beer Corp.                                   5/24/2021
      21-22       RD/JET, Inc.                                                 5/24/2021
      21-23       Jetro Lov, Inc.                                              5/24/2021
      21-24       Jetro RDNY Corp.                                             5/24/2021
      21-25       RD Food Services LP                                          5/24/2021
      21-26       RDNY, L.P.                                                   5/24/2021
      21-27       RDE Elmhurst Operations, Inc.                                5/24/2021
      21-28       Restaurant Depot Enterprises, Inc.                           5/24/2021
      21-29       Hyco Restaurant Supply Co., Inc.                             5/24/2021
      22.         Burris Logistics                                             5/25/2021
      23.         Amory Investments LLC                                        5/24/2021
      23-1        MPFS Liquidating Trust, acting by and through Advisory Trust 5/24/2021     X
                  Group, LLC
      23-2        Maines Paper & Food Service, Inc. ("MPFS") ( dba MainSource; 5/24/2021     X
                  dba MainSource Food & Party Warehouse; dba Produce
                  Express; dba Maines Food & Party Warehouse)
      23-3        Maines Funding Corporation ("MFC")                           5/24/2021     X
      23-4        Maines Paper & Food Service - Chicago, Inc. ("MPFS-Chicago") 5/24/2021     X

      23-5        Maines Paper & Food Service - Dallas, Inc. ("MPFS-Dallas")   5/24/2021     X
      23-6        Maines Paper & Food Service - Great Lakes, Inc. ("MPFS-Great 5/24/2021     X
                  Lakes")
      23-7        Maines Paper & Food Service - Maryland, Inc. ("MPFS-MD")     5/24/2021     X
      23-8        Maines Paper & Food Service -Mid-Atlantic, Inc. ("MPFS-Mid-  5/24/2021     X
                  Atlantic")
      23-9        Maines Paper & Food Service - New England, Inc. ("MPFS-NE") 5/24/2021      X

      23-10       Maines Paper & Food Service - NY Metro, Inc. ("MPFS-NY")    5/24/2021      X
      23-11       Maines Paper & Food Service - Ohio Inc. ("MPFS-OH")         5/24/2021      X
      23-12       Maines Paper & Food Service -Tennessee, Inc. ("MPFS-TN")    5/24/2021      X
      23-13       Maines Paper & Food Service -Worcester, Inc. ("MPFS-        5/24/2021      X
                  Worcester")
      23-14       Warehouse & Logistics, Inc. ("W&L")                         5/24/2021      X
      24.         Sysco Corporation                                           5/25/2021
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                                                EXHIBIT A - Exclusion Report
             #                                 Name 1                             Postmark Date Assigned Claims
      24-1         A. M. Briggs, Inc.                                            5/25/2021
      24-2         Baugh South Cooperative, Inc.                                 5/25/2021
      24-3         Baugh Supply Chain Cooperative, Inc. (AKA BSSC, Inc.)         5/25/2021
      24-4         Baugh Supply Chain, Inc.                                      5/25/2021
      24-5         Buckhead Meat & Seafood of Houston, Inc.                      5/25/2021
      24-6         Buckhead Meat Company                                         5/25/2021
      24-7         Buckhead Meat Florida, a division of Buckhead Meat Company 5/25/2021

      24-8        Buckhead Meat Midwest, Inc.                                 5/25/2021
      24-9        Buckhead Meat New Jersey, a division of Buckhead Meat       5/25/2021
                  Company
      24-10       Buckhead Meat North Carolina, a division of Buckhead Meat   5/25/2021
                  Company
      24-11       Buckhead Meat of Dallas, Inc.                               5/25/2021
      24-12       Buckhead Meat of Denver, Inc. Delaware                      5/25/2021
      24-13       Buckhead Meat of San Antonio, LP                            5/25/2021
      24-14       Buckhead Meat Rhode Island, a division of Buckhead Meat     5/25/2021
                  Company
      24-15       Buzztable, Inc.                                             5/25/2021
      24-16       Cake Corporation                                            5/25/2021
      24-17       Doerle Food Service, a division of Sysco USA II, LLC        5/25/2021
      24-18       Dust Bowl City, LLC                                         5/25/2021
      24-19       EMPYR Incorporated                                          5/25/2021
      24-20       Enclave Insurance Company                                   5/25/2021
      24-21       Enclave Parkway Association, Inc.                           5/25/2021
      24-22       Enclave Properties, LLC                                     5/25/2021
      24-23       European Imports, Inc.                                      5/25/2021
      24-24       Freedman Meats, Inc.                                        5/25/2021
      24-25       Freedman-KB, Inc.                                           5/25/2021
      24-26       FreshPoint Arizona, Inc.                                    5/25/2021
      24-27       FreshPoint Atlanta, Inc.                                    5/25/2021
      24-28       FreshPoint California, Inc.                                 5/25/2021
      24-29       FreshPoint Central California, Inc.                         5/25/2021
      24-30       FreshPoint Central Florida, Inc.                            5/25/2021
      24-31       FreshPoint Connecticut, LLC                                 5/25/2021
      24-32       FreshPoint Dallas, Inc.                                     5/25/2021
      24-33       FreshPoint Denver, Inc.                                     5/25/2021
      24-34       FreshPoint Las Vegas, Inc.                                  5/25/2021
      24-35       FreshPoint North Carolina, Inc.                             5/25/2021
      24-36       FreshPoint North Florida, Inc.                              5/25/2021
      24-37       FreshPoint Oklahoma City, LLC                               5/25/2021
      24-38       FreshPoint Pompano Real Estate, LLC                         5/25/2021
      24-39       FreshPoint San Francisco, Inc.                              5/25/2021
      24-40       FreshPoint South Florida, Inc.                              5/25/2021
      24-41       FreshPoint South Texas, Inc.                                5/25/2021
      24-42       FreshPoint Southern California, Inc.                        5/25/2021
      24-43       FreshPoint Tomato, LLC                                      5/25/2021
      24-44       FreshPoint, Inc.                                            5/25/2021
      24-45       G&S Real Estate, Inc.                                       5/25/2021
      24-46       Gilchrist & Soames Holdings Corporation                     5/25/2021
      24-47       Gilchrist & Soams, Inc.                                     5/25/2021
      24-48       Guest Packaging, LLC                                        5/25/2021
      24-49       Iowa Premium, LLC                                           5/25/2021
      24-50       Metrpolitan Poultry, a division of A. M. Briggs             5/25/2021
      24-51       Newport Meat Northern California, Inc.                      5/25/2021
      24-52       Newport Meat of Nevada, Inc.                                5/25/2021
      24-53       Newport Meat Pacific Northwest, Inc.                        5/25/2021
      24-54       Newport Meat Southern California, Inc.                      5/25/2021
      24-55       North Star Holding Corporation                              5/25/2021
      24-56       North Star Seafood Acquisition Corporation                  5/25/2021
      24-57       North Star Seafood, LLC                                     5/25/2021
      24-58       Palisades Ranch, Inc.                                       5/25/2021
      24-59       Restaurant Of Tomorrow, Inc.                                5/25/2021
      24-60       SMS Lux Holdings LLC                                        5/25/2021
      24-61       SOTF, LLC                                                   5/25/2021
      24-62       Specialty Meat Holdings, LLC                                5/25/2021
      24-63       Sysco Albany, LLC                                           5/25/2021
      24-64       Sysco Arizona Leasing, a division. of Sysco Leasing, LLC    5/25/2021
      24-65       Sysco Arizona, a division of Sysco USA I, Inc.              5/25/2021
      24-66       Sysco Arkansas, a division of Sysco USA II, LLC             5/25/2021
      24-67       Sysco Asian Foods, Inc.                                     5/25/2021
      24-68       Sysco Atlanta, LLC                                          5/25/2021
      24-69       Sysco Baltimore, LLC                                        5/25/2021
      24-70       Sysco Baraboo, LLC                                          5/25/2021
      24-71       Sysco Boston, LLC                                           5/25/2021
      24-72       Sysco Central Alabama, LLC                                  5/25/2021
      24-73       Sysco Central California, Inc.                              5/25/2021
      24-74       Sysco Central Florida, Inc.                                 5/25/2021
      24-75       Sysco Central Illinois, Inc.                                5/25/2021
      24-76       Sysco Central Pennsylvania, LLC                             5/25/2021
      24-77       Sysco Central Texas, a division of Sysco USA I, Inc.        5/25/2021
      24-78       Sysco Charlotte, LLC                                        5/25/2021
      24-79       Sysco Chicago, Inc.                                         5/25/2021
      24-80       Sysco Cincinnati, LLC                                       5/25/2021
      24-81       Sysco Cleveland, Inc.                                       5/25/2021
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                                                EXHIBIT A - Exclusion Report
          #                                    Name 1                             Postmark Date Assigned Claims
      24-82      Sysco Columbia, LLC                                             5/25/2021
      24-83      Sysco Connnecticut, LLC                                         5/25/2021
      24-84      Sysco Cooperative Services, Inc.                                5/25/2021
      24-85      Sysco Corporation                                               5/25/2021
      24-86      Sysco Corporation Good Government Committee, Inc.               5/25/2021
      24-87      Sysco Denver, a division of Sysco USA I, Inc.                   5/25/2021
      24-88      Sysco Detroit, LLC                                              5/25/2021
      24-89      Sysco Disaster Relief Foundation, Inc.                          5/25/2021
      24-90      Sysco East Texas, a division of USA I, Inc.                     5/25/2021
      24-91      Sysco Eastern Maryland, LLC                                     5/25/2021
      24-92      Sysco Eastern Wisconsin, LLC                                    5/25/2021
      24-93      Sysco Foundation, Inc.                                          5/25/2021
      24-94      Sysco George Town II, LLC                                       5/25/2021
      24-95      Sysco Global Resources, LLC                                     5/25/2021
      24-96      Sysco Global Services, LLC                                      5/25/2021
      24-97      Sysco Grand Rapids, LLC                                         5/25/2021
      24-98      Sysco Guest Supply, LLC                                         5/25/2021
      24-99      Sysco Gulf Coast, LLC                                           5/25/2021
      24-100     Sysco Hampton Roads, Inc.                                       5/25/2021
      24-101     Sysco Hawaii, Inc.                                              5/25/2021
      24-102     Sysco Holdings, LLC                                             5/25/2021
      24-103     Sysco Houston, a division of Sysco USA I, Inc.                  5/25/2021
      24-104     Sysco Idaho, a division of Sysco USA I, Inc.                    5/25/2021
      24-105     Sysco Indianapolis, LLC                                         5/25/2021
      24-106     Sysco Intermountain, a division of Sysco USA I, Inc.            5/25/2021
      24-107     Sysco International Food Group, Inc.                            5/25/2021
      24-108     Sysco Iowa, Inc.                                                5/25/2021
      24-109     Sysco Jackson, LLC                                              5/25/2021
      24-110     Sysco Jacksonville, Inc.                                        5/25/2021
      24-111     Sysco Kansas City, Inc.                                         5/25/2021
      24-112     Sysco Knoxville, LLC                                            5/25/2021
      24-113     Sysco Las Vegas, a division of Sysco USA I, Inc.                5/25/2021
      24-114     Sysco Leasing, LLC                                              5/25/2021
      24-115     Sysco Lincoln Transportation Company, Inc.                      5/25/2021
      24-116     Sysco Lincoln, Inc.                                             5/25/2021
      24-117     Sysco Long Island, LLC                                          5/25/2021
      24-118     Sysco Los Angeles, Inc.                                         5/25/2021
      24-119     Sysco Louisville, Inc.                                          5/25/2021
      24-120     Sysco Memphis, LLC                                              5/25/2021
      24-121     Sysco Merchandising and Supply Chain Services, Inc.             5/25/2021
      24-122     Sysco Metro New York, LLC                                       5/25/2021
      24-123     Sysco Minnesota, Inc.                                           5/25/2021
      24-124     Sysco Montana, Inc.                                             5/25/2021
      24-125     Sysco Nashville, LLC                                            5/25/2021
      24-126     Sysco Netherlands Partners, LLC                                 5/25/2021
      24-127     Sysco New Mexico, a division of Sysco USA I, Inc.               5/25/2021
      24-128     Sysco New Orleans, a divsion of Sysco USA II, LLC               5/25/2021
      24-129     Sysco North Central Florida, lnc.                               5/25/2021
      24-130     Sysco North Dakota, Inc. Delaware                               5/25/2021
      24-131     Sysco North Texas, a division of Sysco USA I, Inc.              5/25/2021
      24-132     Sysco Northern New England, Inc.                                5/25/2021
      24-133     Sysco Oklahoma, a division of Sysco USA II, LLC                 5/25/2021
      24-134     Sysco Philadelphia, LLC                                         5/25/2021
      24-135     Sysco Pittsburgh, LLC                                           5/25/2021
      24-136     Sysco Portland, Inc.                                            5/25/2021
      24-137     Sysco Raleigh, LLC                                              5/25/2021
      24-138     Sysco Resources Services, LLC                                   5/25/2021
      24-139     Sysco Riverside, Inc.                                           5/25/2021
      24-140     Sysco Sacramento, Inc.                                          5/25/2021
      24-141     Sysco San Diego, Inc.                                           5/25/2021
      24-142     Sysco San Francisco, Inc.                                       5/25/2021
      24-143     Sysco Seattle, Inc.                                             5/25/2021
      24-144     Sysco South Florida, Inc.                                       5/25/2021
      24-145     Sysco Southeast Florida, LLC                                    5/25/2021
      24-146     Sysco Spokane, Inc.                                             5/25/2021
      24-147     Sysco St. Louis, LLC                                            5/25/2021
      24-148     Sysco Syracuse, LLC                                             5/25/2021
      24-149     Sysco USA I, Inc.                                               5/25/2021
      24-150     Sysco USA II, LLC                                               5/25/2021
      24-151     Sysco USA III, LLC                                              5/25/2021
      24-152     Sysco Ventura, Inc.                                             5/25/2021
      24-153     Sysco Ventures, Inc.                                            5/25/2021
      24-154     Sysco Virginia, LLC                                             5/25/2021
      24-155     Sysco West Coast Florida, Inc.                                  5/25/2021
      24-156     Sysco West Texas, a division of Sysco USA I, Inc.               5/25/2021
      24-157     Sysco Western Minnesota, Inc.                                   5/25/2021
      24-158     The SYGMA Network, Inc.                                         5/25/2021
      24-159     Tri-City Meats, a division of Sysco Idaho                       5/25/2021
      24-160     Walker Foods, Inc.                                              5/25/2021
      25.        Barbeque Integrated, Inc. d/b/a Smokey Bones Bar and Fire Grill 5/25/2021

      25-1      McLane Foodservice, Inc.                                     5/25/2021       X

      25-2      Performance Food Group, Inc.                                 5/25/2021       X
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                                                 EXHIBIT A - Exclusion Report
             #                                  Name 1                            Postmark Date Assigned Claims
      26.          Bojangles' Restaurants, Inc.                                  5/25/2021

      26-1        McLane Foodservice, Inc.                                           5/25/2021   X
      26-2        Bojangles Opco, LLC                                                5/25/2021

      26-3        McLane Foodservice, Inc.                                           5/25/2021   X
      27.         Domino's Pizza LLC                                                 5/25/2021
      27-1        Domino's Pizza Distribution LLC                                    5/25/2021
      27-2        Domino's Pizza, Inc.                                               5/25/2021
      27-3        Domino's, Inc.                                                     5/25/2021
      27-4        Domino's Pizza Franchising LLC                                     5/25/2021
      27-5        Domino's Pizza PMC, Inc.                                           5/25/2021
      27-6        Domino's Pizza lnt'I, Inc.                                         5/25/2021
      27-7        Domino's National Advertising Fund Inc.                            5/25/2021
      27-8        Domino's Pizza lnt'I Payroll Services, Inc.                        5/25/2021
      27-9        Domino's Pizza Master Issuer LLC                                   5/25/2021
      27-10       Progressive Food Solutions LLC                                     5/25/2021
      27-11       Domino's Pizza NS Co.                                              5/25/2021
      28.         Golden Corral Corporation                                          5/25/2021

      28-1        McLane Foodservice, Inc.                                           5/25/2021   X
      29.         Boston Market Corporation                                          5/25/2021

      29-1        McLane Foodservice, Inc.                                           5/25/2021   X
      30.         Howard B. Samuels, Solely as Chapter 7 Trustee of the estate       5/28/2021
                  of Central Grocers, Inc., Strack and Van Til Super Market, Inc.,
                  and SVT, LLC
      31.         Action Meat Distributors, Inc.                                     5/28/2021
      32          Alex Lee, Inc. and Merchants Distributors, LLC                     5/28/2021
      32-1        Lowe’s Food Stores, Inc.                                           5/28/2021
      33          Associated Food Stores, Inc.                                       5/28/2021
      34          Brookshire Grocery Company                                         5/28/2021
      34-1        Super 1 Foods                                                      5/28/2021
      34-2        Spring Market                                                      5/28/2021
      34-3        Fresh by Brookshire's                                              5/28/2021
      35          Colorado Boxed Beef Co. (f/k/a CBBC Opco, LLC)                     5/28/2021
      36          Nicholas & Co., Inc.                                               5/28/2021
      37          Pacific Food Distributors, Inc.                                    5/28/2021
      37-1        PFD Enterprises, Inc.                                              5/28/2021
      38          The Distribution Group, d/b/a Van Eerden Foodservice Co.           5/28/2021
      39          The Golub Corporation                                              5/28/2021
      39-1        Market 32                                                          5/28/2021
      39-2        Market Bistro                                                      5/28/2021
      39-3        Price Chopper Supermarkets                                         5/28/2021
      40          Troyer Foods, Inc.                                                 5/28/2021
      41          URM Stores, Inc.                                                   5/28/2021
      42          SpartanNash Company                                                5/28/2021
      42-1        Spartan Stores, Inc.                                               5/28/2021
      42-2        Nash-Finch Company                                                 5/28/2021
      42-3        Spartan Stores Distribution, LLC                                   5/28/2021
      42-4        Seaway Food Town, Inc.                                             5/28/2021
      42-5        SpartanNash Procurement, LLC                                       5/28/2021
      42-6        MSM Holdco, LLC                                                    5/28/2021
      42-7        Martin’s Super Markets, LLC                                        5/28/2021
      42-8        D&W Fresh Market                                                   5/28/2021
      43          Springfield Grocer Company                                         5/28/2021
      43-1        SGC Foodservice                                                    5/28/2021
      44          Topco Associates, LLC                                              5/28/2021
      45          Giant Eagle, Inc.                                                  5/28/2021

      45-1        Riser Foods, Inc.                                                  5/28/2021
      45-2        OK Grocery                                                         5/28/2021

      45-3        American Seaway Foods                                              5/28/2021

      45-4        Fresh Foods Manufacturing                                          5/28/2021

      45-5        Butler Refrigerated Meats                                          5/28/2021

      45-6        ASF Meat                                                           5/28/2021

      45-7        Cranberry Great Lakes Cold Storage                                 5/28/2021

      45-8        The Tamarkin Company                                               5/28/2021

      45-9        Great Lakes Cold Storage                                           5/28/2021

      46.         Fair Oaks Farms, LLC d/b/a Fair Oaks Foods                         5/27/2021
      47.         Winn-Dixie Stores, Inc.                                            5/27/2021
      47-1        Southeastern Grocers LLC                                           5/27/2021
      47-2        C&S Wholesale Grocers, Inc.                                        5/27/2021   X
      47-3        Winn-Dixie Stores, Inc.                                            5/27/2021
      47-4        C&S Wholesale Grocers, Inc.                                        5/27/2021   X
      47-5        Winn-Dixie Procurement, Inc.                                       5/27/2021
      47-6        Harveys                                                            5/27/2021
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                                                EXHIBIT A - Exclusion Report
           #                                  Name 1                            Postmark Date Assigned Claims
      47-7       Sweet Bay                                                     5/27/2021
      47-8       Fresco Y Mas                                                  5/27/2021
      47-9       Save-Rite                                                     5/27/2021
      47-10      Bi-Lo                                                         5/27/2021
      47-11      Bi-Lo Holding LLC                                             5/27/2021
      47-12      C&S Wholesale Grocers, Inc.                                   5/27/2021       X
      47-13      Bi-Lo LLC                                                     5/27/2021
      47-14      C&S Wholesale Grocers, Inc.                                   5/27/2021       X
      47-15      Superbrand                                                    5/27/2021
      47-16      J.H. Harvey Co., LLC                                          5/27/2021
      47-17      Bi-Lo Holding Finance LLC                                     5/27/2021
      47-18      Bi-Lo, LLC                                                    5/27/2021
      47-19      C&S Wholesale Grocers, Inc.                                   5/27/2021       X
      47-20      Samson Merger Sub, LLC                                        5/27/2021
      47-21      Winn-Dixie Logistics, Inc.                                    5/27/2021
      47-22      Winn-Dixie Corporation                                        5/27/2021
      47-23      Bruno’s Supermarkets Incorporated                             5/27/2021
      48.        Gordon Food Service, Inc.                                     5/27/2021
      48-1       GFS Marketplace North America, LLC                            5/27/2021
      48-2       GFS Brands, Inc.                                              5/27/2021
      48-3       Gordon Food Service Store LLC                                 5/27/2021
      48-4       Gordon Restaurant Market LLC                                  5/27/2021
      48-5       Gordon Marketplace Sub, LLC                                   5/27/2021
      48-6       Gordon Food Service, Inc.                                     5/27/2021
      48-7       Glazier Foods Company                                         5/27/2021
      48-8       GFS Transport, LLC                                            5/27/2021
      48-9       GFS Transport East, LLC                                       5/27/2021
      48-10      Perkins Paper, LLC                                            5/27/2021
      48-11      Ettline Foods Corporation                                     5/27/2021
      48-12      Ettline Express, LLC                                          5/27/2021
      48-13      State Street 525, LLC                                         5/27/2021
      48-14      Centurion Business Group, LLC                                 5/27/2021
      48-15      North Trading & Logistics, LLC                                5/27/2021
      48-16      Capstone Logistic Services, LLC                               5/27/2021
      48-17      Limson Trading, Inc.                                          5/27/2021
      48-18      Halperns’ Steak and Seafood Company LLC                       5/27/2021
      48-19      Halperns’ Steak and Seafood of Puerto Rico LLC                5/27/2021
      48-20      Gordon Food Service Company                                   5/27/2021
      48-21      Gordon Food Service Company, Inc.                             5/27/2021
      48-22      Gordon Food Service, LLC                                      5/27/2021
      48-23      Gordon Food Service Store                                     5/27/2021
      48-24      Gordon Foodservice                                            5/27/2021
      48-25      Gordon Food Service                                           5/27/2021
      48-26      Davis Creek Meat & Seafood                                    5/27/2021
      48-27      Halperns’                                                     5/27/2021
      48-28      Halperns’ Steak & Seafood                                     5/27/2021
      48-29      GFS Central States LLC                                        5/27/2021
      49.        US Foods, Inc. a/k/a US Foodservice, Inc.                     5/27/2021
      49-1       All American Foods, Inc.                                      5/27/2021
      49-2       US Foods, Inc.                                                5/27/2021
      49-3       Alliant Foodservice, Inc.                                     5/27/2021
      49-4       AlliantLink.com, Inc.                                         5/27/2021
      49-5       Atlanta L.K.E. LLC                                            5/27/2021
      49-6       Atlanta Land L.K.E. LLC                                       5/27/2021
      49-7       Atlantic Food Services Inc.                                   5/27/2021
      49-8       Bay-N-Gulf, Inc.                                              5/27/2021
      49-9       Bay-N-Gulf, Inc. d/b/a Save on Seafood                        5/27/2021
      49-10      BNG Transport Inc.                                            5/27/2021
      49-11      Braunger Foods, LLC                                           5/27/2021
      49-12      Cara Donna Provision Co., Inc.                                5/27/2021
      49-13      Cerniglia Products, Inc.                                      5/27/2021
      49-14      City Meat & Provisions Company, Inc.                          5/27/2021
      49-15      Dierks Foods, Inc.                                            5/27/2021
      49-16      Dierks Waukesha Foods                                         5/27/2021
      49-17      E&H Distributing, LLC                                         5/27/2021
      49-18      First Course, LLC                                             5/27/2021
      49-19      Firstclass Foods - Trojan, Inc.                               5/27/2021
      49-20      Firstclass Foods, Inc.                                        5/27/2021
      49-21      Food Genius, Inc.                                             5/27/2021
      49-22      Fresh Transportation Co., Ltd.                                5/27/2021
      49-23      Fresh Unlimited, Inc. d/b/a Freshway Foods                    5/27/2021
      49-24      Freshway Logistics, Inc.                                      5/27/2021
      49-25      GFG Foodservice                                               5/27/2021
      49-26      Great North Imports, LLC                                      5/27/2021
      49-27      Great Western Meats, Inc.                                     5/27/2021
      49-28      Harrison's Prime Meats & Provisions Inc.                      5/27/2021
      49-29      Hawkeye Foodservice Distribution, Inc.                        5/27/2021
      49-30      Jackson L.K.E., LLC                                           5/27/2021
      49-31      JP Foodservice Distributors, Inc.                             5/27/2021
      49-32      Midway Produce Inc.                                           5/27/2021
      49-33      New City Packing Company                                      5/27/2021
      49-34      Next Day Gourmet L.P.                                         5/27/2021
      49-35      NextGen Markets, Inc.                                         5/27/2021
      49-36      North Star FoodServices, Inc.                                 5/27/2021
      49-37      Outwest Meat Company                                          5/27/2021
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          #                                 Name 1                             Postmark Date Assigned Claims
      49-38     Paris L.K.E. LLC                                              5/27/2021
      49-39     Project Tide, Inc.                                            5/27/2021
      49-40     PYA/Monarch, LLC                                              5/27/2021
      49-41     Quandt's Foodservice                                          5/27/2021
      49-42     Riverside Food Distributors                                   5/27/2021
      49-43     RS Funding Inc.                                               5/27/2021
      49-44     Rykoff-Sexton, Inc.                                           5/27/2021
      49-45     Save On Seafood Company Inc.                                  5/27/2021
      49-46     Save on Seafood Fishing, Inc.                                 5/27/2021
      49-47     Sorrento Food Service, Inc.                                   5/27/2021
      49-48     Sparta Imports, Inc.                                          5/27/2021
      49-49     Sqp, Inc.                                                     5/27/2021
      49-50     Squeri Food Service Inc.                                      5/27/2021
      49-51     SRA Foods, Inc.                                               5/27/2021
      49-52     Stock Yards                                                   5/27/2021
      49-53     Superior Products Catalog                                     5/27/2021
      49-54     The Thompson Co., LLC                                         5/27/2021
      49-55     Trans-Porte, Inc.                                             5/27/2021
      49-56     US Foods                                                      5/27/2021
      49-57     US Foods Culinary Equipment                                   5/27/2021
      49-58     US Foods Holding Corp.                                        5/27/2021
      49-59     US Foods, Inc. d/b/a U.S.                                     5/27/2021
      49-60     USF Emf Inc                                                   5/27/2021
      49-61     USF Holding Corp.                                             5/27/2021
      49-62     USF Propco I, LLC                                             5/27/2021
      49-63     USF Propco II, LLC                                            5/27/2021
      49-64     USF Propco Mezz A, LLC                                        5/27/2021
      49-65     USF Propco Mezz B, LLC                                        5/27/2021
      49-66     USF Propco Mezz C, LLC                                        5/27/2021
      49-67     USF/Ri, LLC                                                   5/27/2021
      49-68     Variety Foods, L.L.C.                                         5/27/2021
      49-69     Vasaturo Bros., Inc.                                          5/27/2021
      49-70     Walterboro L.K.E. LLC                                         5/27/2021
      49-71     Waukesha Transport Inc.                                       5/27/2021
      49-72     Waukesha Wholesale Foods,                                     5/27/2021
      49-73     White Apron, Inc.                                             5/27/2021
      49-74     White Swan, Inc.                                              5/27/2021
      49-75     Smart Stores Holding Corp.                                    5/27/2021
      49-76     Smart Stores Acquisition LLC                                  5/27/2021
      49-77     Smart Stores Operations LLC                                   5/27/2021
      49-78     Greenwood Stores Holding LLC                                  5/27/2021
      49-79     Greenwood Stores Acquisition LLC                              5/27/2021
      49-80     Smart Foodservice Funding LLC                                 5/27/2021
      49-81     Smart Foodservice Stores LLC                                  5/27/2021
      49-82     Cash & Carry Stores LLC d/b/a Cash & Carry Smart              5/27/2021
                Foodservice
      49-83     Food Services of America, Inc.                                5/27/2021       X


      49-84    System Services of America, Inc.                                5/27/2021   X


      49-85    Ameristar Meats, Inc.                                           5/27/2021   X


      49-86    Amerifresh, Inc.                                                5/27/2021   X


      49-87    GAMPAC Express, Inc.                                            5/27/2021   X


      49-88    SSA Exports, LLC                                                5/27/2021   X


      50.      The Cheesecake Factory Incorporated                             5/27/2021
      50-1     Halperns’ Steak and Seafood Company, LLC                        5/27/2021   X
      50-2     Nealy Foods                                                     5/27/2021   X
      51       Cracker Barrel Old Country Store, Inc.                          5/27/2021

      51-1     Performance Food Group, Inc.                                    5/27/2021   X
      52.      Kanematsu Corporation                                           5/26/2021
      53.      Quality Supply Chain Co-op, Inc.                                5/26/2021
      53-1     The Wendy’s Company                                             5/26/2021
      53-2     256 Gift Card Inc.                                              5/26/2021
      53-3     Adams Packing Association, Inc.                                 5/26/2021
      53-4     Citrus Acquisition Corporation                                  5/26/2021
      53-5     Oldemark LLC                                                    5/26/2021
      53-6     Quality Is Our Recipe, LLC                                      5/26/2021
      53-7     SEPSCO, LLC                                                     5/26/2021
      53-8     The Wendy’s National Advertising Program, Inc.                  5/26/2021
      53-9     TIMWEN Partnership                                              5/26/2021
      53-10    TXL Corp.                                                       5/26/2021
      53-11    Wendy Restaurant, Inc.                                          5/26/2021
      53-12    Wendy’s Brasil Servicios de Consultoria em Restaurantes Ltda.   5/26/2021
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          #                                  Name 1                             Postmark Date Assigned Claims
      53-13     Wendy’s Brazil Holdings Partner, LLC                           5/26/2021
      53-14     Wendy’s Canadian Advertising Program Inc.                      5/26/2021
      53-15     Wendy’s Digital, LLC                                           5/26/2021
      53-16     Wendy’s Funding, LLC                                           5/26/2021
      53-17     Wendy’s Global Financing LP                                    5/26/2021
      53-18     Wendy’s Global Financing Partner, LLC                          5/26/2021
      53-19     Wendy’s Global Holdings C.V.                                   5/26/2021
      53-20     Wendy’s Global Holdings Partner, LLC                           5/26/2021
      53-21     Wendy’s International Finance, Inc.                            5/26/2021
      53-22     Wendy’s International, LLC (f/k/a Wendy’s International, Inc.) 5/26/2021
      53-23     Wendy’s Ireland Financing Limited                              5/26/2021
      53-24     Wendy’s Netherlands B.V.                                       5/26/2021
      53-25     Wendy’s Netherlands Holdings B.V.                              5/26/2021
      53-26     Wendy’s Old Fashioned Hamburgers of New York, LLC              5/26/2021
      53-27     Wendy’s Properties, LLC                                        5/26/2021
      53-28     Wendy’s Restaurants of Canada Inc.                             5/26/2021
      53-29     Wendy’s Restaurants of New York, LLC                           5/26/2021
      53-30     Wendy’s Restaurants of U.K. Limited                            5/26/2021
      53-31     Wendy’s Restaurants, LLC                                       5/26/2021
      53-32     Wendy’s Singapore Pte. Ltd.                                    5/26/2021
      53-33     Wendy’s SPV Guarantor, LLC                                     5/26/2021
      53-34     Wendy’s Technology, LLC                                        5/26/2021
      53-35     QSCC Canada, Inc.                                              5/26/2021
      53-36     The SYGMA Network, Inc.                                        5/26/2021      X
      53-37     The Sysco Corporation                                          5/26/2021      X
      53-38     Performance Food Group                                         5/26/2021      X
      53-39     Kenneth O. Lester Company, Inc. d/b/a PFG Customized           5/26/2021      X
                Distribution
      53-40     Quality Custom Distribution Services, Inc.                     5/26/2021      X
      53-41     Shamrock Foods Company                                         5/26/2021      X
      53-42     Upper Lake Foods, Inc.                                         5/26/2021      X
      53-43     ULF Janesville, LLC                                            5/26/2021      X
      53-44     Willow Run Foods, Inc.                                         5/26/2021      X
      53-45     Fresh Mark, Inc.                                               5/26/2021      X
      53-46     Harvest Distribution, Inc.                                     5/26/2021      X
      53-47     Southeastern Food Merchandisers, LP                            5/26/2021      X
      54.       Aramark Food and Support Services Group, Inc.                  5/26/2021
      54-1      Aramark                                                        5/26/2021
      54-2      Aramark Intermediate HoldCo Corporation                        5/26/2021
      54-3      Aramark Services, Inc.                                         5/26/2021
      54-4      Sysco Corporation                                              5/26/2021      X
      54-5      Single Source, Inc.                                            5/26/2021      X
      54-6      1st & Fresh, LLC                                               5/26/2021
      54-7      Active Industrial Uniform Co., LLC                             5/26/2021
      54-8      Alcatraz Hospitality, LLC                                      5/26/2021
      54-9      American Snack & Beverage, LLC                                 5/26/2021
      54-10     AmeriPride Services, LLC                                       5/26/2021
      54-11     Aramark American Food Services, LLC                            5/26/2021
      54-12     Aramark Asia Management, LLC                                   5/26/2021
      54-13     Aramark Aviation Services Limited Partnership                  5/26/2021
      54-14     Aramark Business & Industry, LLC                               5/26/2021
      54-15     Aramark Business Center, LLC                                   5/26/2021
      54-16     Aramark Business Dining Services of Texas, LLC                 5/26/2021
      54-17     Aramark Business Facilities, LLC                               5/26/2021
      54-18     Aramark Campus, LLC                                            5/26/2021
      54-19     Aramark Cleanroom Services (Puerto Rico), Inc.                 5/26/2021
      54-20     Aramark Concession Services Joint Venture                      5/26/2021
      54-21     Aramark Confection, LLC                                        5/26/2021
      54-22     Aramark Construction and Energy Services, LLC                  5/26/2021
      54-23     Aramark Construction and Energy Services, LLC Alt. Name:       5/26/2021
                Aramark Asset Solutions
      54-24     Aramark Construction Services, Inc.                            5/26/2021
      54-25     Aramark Consumer Discount Company                              5/26/2021
      54-26     Aramark Correctional Services, LLC                             5/26/2021
      54-27     Aramark Distribution Services, LLC                             5/26/2021
      54-28     Aramark Educational Group, LLC                                 5/26/2021
      54-29     Aramark Educational Services of Texas, LLC                     5/26/2021
      54-30     Aramark Educational Services of Vermont, Inc.                  5/26/2021
      54-31     Aramark Educational Services, LLC                              5/26/2021
      54-32     Aramark Entertainment, LLC                                     5/26/2021
      54-33     Aramark Equipment, LLC                                         5/26/2021
      54-34     Aramark Facility Services, LLC                                 5/26/2021
      54-35     Aramark FHC Business Services, LLC                             5/26/2021
      54-36     Aramark FHC Campus Services, LLC                               5/26/2021
      54-37     Aramark FHC Correctional Services, LLC                         5/26/2021
      54-38     Aramark FHC Healthcare Support Services, LLC                   5/26/2021
      54-39     Aramark FHC Kansas, Inc                                        5/26/2021
      54-40     Aramark FHC Refreshment Services, LLC                          5/26/2021
      54-41     Aramark FHC School Support Services, LLC                       5/26/2021
      54-42     Aramark FHC Services, LLC                                      5/26/2021
      54-43     Aramark FHC Sports and Entertainment Services, LLC             5/26/2021
      54-44     Aramark FHC, LLC                                               5/26/2021
      54-45     Aramark Food and Support Services Group, Inc.                  5/26/2021
      54-46     Aramark Food Service of Texas, LLC                             5/26/2021
      54-47     Aramark Food Service, LLC                                      5/26/2021
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      54-48      Aramark FSM, LLC                                                5/26/2021
      54-49      Aramark Global, Inc.                                            5/26/2021
      54-50      Aramark Healthcare Support Services of the Virgin Islands, Inc. 5/26/2021

      54-51     Aramark Healthcare Support Services, LLC                      5/26/2021
      54-52     Aramark Industrial Services, LLC                              5/26/2021
      54-53     Aramark Japan, LLC                                            5/26/2021
      54-54     Aramark Lakewood Associates                                   5/26/2021
      54-55     Aramark Management Services Limited Partnership               5/26/2021
      54-56     Aramark Management, LLC                                       5/26/2021
      54-57     Aramark Mexico Group, LLC                                     5/26/2021
      54-58     Aramark Organizational Services, LLC                          5/26/2021
      54-59     Aramark Personnel Services, LLC                               5/26/2021
      54-60     Aramark Processing, LLC                                       5/26/2021
      54-61     Aramark Qualified Opportunity Fund, LLC                       5/26/2021
      54-62     Aramark Rail Services, LLC                                    5/26/2021
      54-63     Aramark RBI, Inc.                                             5/26/2021
      54-64     Aramark Receivables, LLC                                      5/26/2021
      54-65     Aramark Refreshment Group, Inc.                               5/26/2021
      54-66     Aramark Refreshment Services of Tampa, LLC                    5/26/2021
      54-67     Aramark Refreshment Services, LLC                             5/26/2021
      54-68     Aramark S&E/QCF Joint Venture                                 5/26/2021
      54-69     Aramark Schools Facilities, LLC                               5/26/2021
      54-70     Aramark Schools, LLC                                          5/26/2021
      54-71     Aramark SCM, Inc.                                             5/26/2021
      54-72     Aramark Senior Living Services, LLC                           5/26/2021
      54-73     Aramark Services of Kansas, Inc.                              5/26/2021
      54-74     Aramark Services of Puerto Rico, Inc.                         5/26/2021
      54-75     Aramark SMMS LLC                                              5/26/2021
      54-76     Aramark SMMS Real Estate LLC                                  5/26/2021
      54-77     Aramark Sports and Entertainment Group, LLC                   5/26/2021
      54-78     Aramark Sports and Entertainment Services of Texas, LLC       5/26/2021
      54-79     Aramark Sports and Entertainment Services, LLC                5/26/2021
      54-80     Aramark Sports Facilities, LLC                                5/26/2021
      54-81     Aramark Sports, LLC                                           5/26/2021
      54-82     Aramark Technical Services North Carolina, Inc.               5/26/2021
      54-83     Aramark Technical Services of New York, LLC                   5/26/2021
      54-84     Aramark Togwotee, LLC                                         5/26/2021
      54-85     Aramark Trademark Services, Inc.                              5/26/2021
      54-86     Aramark U.S. Offshore Services, LLC                           5/26/2021
      54-87     Aramark Uniform & Career Apparel Group, Inc.                  5/26/2021
      54-88     Aramark Uniform & Career Apparel, LLC                         5/26/2021
      54-89     Aramark Uniform & Career Apparel, LLC Alt. Name: Aramark      5/26/2021
                Uniform Services; Wearguard-Crest
      54-90     Aramark Uniform Manufacturing Company                         5/26/2021
      54-91     Aramark Uniform Services (Matchpoint) LLC                     5/26/2021
      54-92     Aramark Uniform Services (Rochester) LLC                      5/26/2021
      54-93     Aramark Uniform Services (Supply Chain), LLC                  5/26/2021
      54-94     Aramark Uniform Services (Syracuse) LLC                       5/26/2021
      54-95     Aramark Uniform Services (Texas) LLC                          5/26/2021
      54-96     Aramark Uniform Services (West Adams) LLC                     5/26/2021
      54-97     Aramark Venue Services, Inc.                                  5/26/2021
      54-98     Aramark WTC, LLC                                              5/26/2021
      54-99     Aramark/Giacometti Joint Venture                              5/26/2021
      54-100    Aramark/Globetrotters, LLC                                    5/26/2021
      54-101    Aramark/GM Concessions Joint Venture                          5/26/2021
      54-102    Aramark/Gourmet HE-1, LLC                                     5/26/2021
      54-103    Aramark/Gourmet HE-2, LLC                                     5/26/2021
      54-104    Aramark/Hart Lyman Entertainment, LLC                         5/26/2021
      54-105    Aramark/HF Company                                            5/26/2021
      54-106    Aramark/HMS, LLC                                              5/26/2021
      54-107    Aramark/Martin's Stadium Concession Services OPACY Joint      5/26/2021
                Venture
      54-108    Aramark/QHC LLC                                               5/26/2021
      54-109    Aramark/SFS Joint Venture                                     5/26/2021
      54-110    Aramark-Chugach Alaska Services, LLC                          5/26/2021
      54-111    Aramark-Clarksville Club, Inc.                                5/26/2021
      54-112    Aramark-FINCO of Texas, LLC                                   5/26/2021
      54-113    Aramark-Gourmet DPS, LLC                                      5/26/2021
      54-114    Aramark-KWAME of St. Louis, LLC                               5/26/2021
      54-115    Aramark-SFS Healthcare JV L.L.C.                              5/26/2021
      54-116    Avendra Gaming, LLC                                           5/26/2021
      54-117    Avendra Replenishment, LLC                                    5/26/2021
      54-118    Avendra, LLC                                                  5/26/2021
      54-119    Brand Coffee Service, Inc.                                    5/26/2021
      54-120    BuyEfficient, LLC                                             5/26/2021
      54-121    Canyonlands Rafting Hospitality, LLC                          5/26/2021
      54-122    Cliff House Hospitality, LLC                                  5/26/2021
      54-123    Corporate Coffee Systems LLC                                  5/26/2021
      54-124    Crater Lake Hospitality, LLC                                  5/26/2021
      54-125    D.G. Maren II, Inc.                                           5/26/2021
      54-126    Delicious on West Street LLC                                  5/26/2021
      54-127    Delsac VIII, LLC                                              5/26/2021
      54-128    Doyon/Aramark Denali National Park Concession Joint Venture   5/26/2021
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                                                EXHIBIT A - Exclusion Report
           #                                   Name 1                           Postmark Date Assigned Claims
      54-129     EverSafe Services, LLC                                        5/26/2021
      54-130     Filterfresh Coffee Service, LLC                               5/26/2021
      54-131     Filterfresh Franchise Group, LLC                              5/26/2021
      54-132     Fine Host Holdings, LLC                                       5/26/2021
      54-133     Freedom Ferry Services, LLC                                   5/26/2021
      54-134     Glacier Bay National Park and Preserve Concessions, LLC       5/26/2021
      54-135     Glen Canyon Rafting Hospitality, LLC                          5/26/2021
      54-136     Good Uncle Services, LLC                                      5/26/2021
      54-137     Gourmet Aramark Services, LLC                                 5/26/2021
      54-138     Guaranty Energy Group 1981                                    5/26/2021
      54-139     Harrison Conference Associates, LLC                           5/26/2021
      54-140     Harrison Conference Services of North Carolina, LLC           5/26/2021
      54-141     Harry M. Stevens, Inc. of New Jersey                          5/26/2021
      54-142     Harry M. Stevens, Inc. of Penn.                               5/26/2021
      54-143     Harry M. Stevens, LLC                                         5/26/2021
      54-144     HPSI Purchasing Services LLC                                  5/26/2021
      54-145     Institutional Processing Services LLC                         5/26/2021
      54-146     L&N Uniform Supply, LLC                                       5/26/2021
      54-147     Lake Tahoe Cruises, LLC                                       5/26/2021
      54-148     Landy Textile Rental Services, LLC                            5/26/2021
      54-149     Liberty Islands Hospitality, LLC                              5/26/2021
      54-150     Lifeworks Restaurant Group, LLC                               5/26/2021
      54-151     Muir Woods Hospitality, LLC                                   5/26/2021
      54-152     MyAssistant, Inc.                                             5/26/2021
      54-153     National Mall Hospitality, LLC                                5/26/2021
      54-154     North Rim Hospitality, LLC                                    5/26/2021
      54-155     Old Time Coffee Co                                            5/26/2021
      54-156     Olympic Peninsula Hospitality, LLC                            5/26/2021
      54-157     Overall Laundry Services, LLC                                 5/26/2021
      54-158     Paradise Hornblower, LLC                                      5/26/2021
      54-159     Philadelphia Ballpark Concession Joint Venture                5/26/2021
      54-160     Restaura, Inc                                                 5/26/2021
      54-161     Rushmore Hospitality, LLC                                     5/26/2021
      54-162     South Rim Hospitality, LLC                                    5/26/2021
      54-163     Sun Office Service, Inc.                                      5/26/2021
      54-164     Tarrant County Concessions, LLC                               5/26/2021
      54-165     The Aramark Foundation                                        5/26/2021
      54-166     Travel Systems, LLC                                           5/26/2021
      54-167     Wilderness River Adventures, LLC                              5/26/2021
      54-168     Yosemite Hospitality, LLC                                     5/26/2021
      55.        Kraft Heinz Food Company                                      5/26/2021
      55-1       The Kraft Heinz Company                                       5/26/2021
      55-2       H J Heinz                                                     5/26/2021
      55-3       H J Heinz Co                                                  5/26/2021
      55-4       H J Heinz Co, A/P Vendor 21228                                5/26/2021
      55-5       H. J. Heinz Company L.P.                                      5/26/2021
      55-6       H.J. Heinz Co.                                                5/26/2021
      55-7       Heinz                                                         5/26/2021
      55-8       Heinz Frozen Food                                             5/26/2021
      55-9       Heinz Frozen Food Company – DNU                               5/26/2021
      55-10      Heinz Frozen Foods                                            5/26/2021
      55-11      Heinz North America                                           5/26/2021
      55-12      Heinz U.S.A.                                                  5/26/2021
      55-13      HJ Heinz Company L P PO Box 57 Pittsburg, PA 15230            5/26/2021
      55-14      Kraft Food Group Company                                      5/26/2021
      55-15      Kraft Foods                                                   5/26/2021
      55-16      Kraft Foods – Columbia                                        5/26/2021
      55-17      Kraft Foods – Davenport                                       5/26/2021
      55-18      Kraft Foods – Madison                                         5/26/2021
      55-19      Kraft Foods (SSC-KHQ)                                         5/26/2021
      55-20      Kraft Foods Global Inc                                        5/26/2021
      55-21      Kraft Foods Global, Inc.                                      5/26/2021
      55-22      Kraft Foods Group, Inc.                                       5/26/2021
      55-23      Kraft Foods Group, Inc                                        5/26/2021
      55-24      Kraft Foods Inc                                               5/26/2021
      55-25      Kraft Heinz                                                   5/26/2021
      55-26      Kraft Heinz Co.                                               5/26/2021
      55-27      Kraft Heinz Company                                           5/26/2021
      55-28      Kraft Heinz Company – Columbia                                5/26/2021
      55-29      Kraft Heinz Company – Davenport                               5/26/2021
      55-30      Kraft Heinz Company – Kirksville                              5/26/2021
      55-31      Kraft Heinz Company – Newberry                                5/26/2021
      55-32      Kraft Heinz Company – Madison                                 5/26/2021
      55-33      Kraft Heinz Company – Coschoton                               5/26/2021
      55-34      Kraft Heinz Company – FZ Altoona                              5/26/2021
      55-35      Kraft Heinz Company – Waterloo                                5/26/2021
      55-36      Kraft Heinz Company – Sugar Creek                             5/26/2021
      55-37      Louis Rich Co. Kraft Foods Global, Inc.                       5/26/2021
      55-38      Oscar Mayer – Davenport                                       5/26/2021
      55-39      Oscar Mayer – Madison                                         5/26/2021
      55-40      Oscar Mayer / Columbia Foods                                  5/26/2021
      55-41      Oscar Mayer Davenport                                         5/26/2021
      55-42      Oscar Mayer Madison                                           5/26/2021
      55-43      Alimentos Heinz de Costa Rica S.A.                            5/26/2021
      55-44      Alimentos Heinz, C.A.                                         5/26/2021
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                                                EXHIBIT A - Exclusion Report
          #                                   Name 1                            Postmark Date Assigned Claims
      55-45      Asian Home Gourmet Pte. Ltd                                   5/26/2021
      55-46      Asian Restaurants Limited                                     5/26/2021
      55-47      Battery Properties, Inc.                                      5/26/2021
      55-48      Bridgetown KHC SRL                                            5/26/2021
      55-49      Boca Foods Company                                            5/26/2021
      55-50      Cairo Food Industries, S.A.E                                  5/26/2021
      55-51      Capri Sun, Inc.                                               5/26/2021
      55-52      Carlton Bridge Limited                                        5/26/2021
      55-53      Cerebos Australia Ltd.                                        5/26/2021
      55-54      Cerebos Gregg’s Ltd.                                          5/26/2021
      55-55      Cerebos Skellerop Ltd.                                        5/26/2021
      55-56      Churny Company, Inc.                                          5/26/2021
      55-57      Claussen Pickle Co.                                           5/26/2021
      55-58      Comercializadora Heinz Panama SCA                             5/26/2021
      55-59      Country Ford Development Limited                              5/26/2021
      55-60      Delimex de Mexico S.A. de C.V.                                5/26/2021
      55-61      Delta Incorporated Limtied                                    5/26/2021
      55-62      Devour Foods LLC                                              5/26/2021
      55-63      Distribuidora Heinz Caracas, C.A.                             5/26/2021
      55-64      Distribuidora Heinz Maracaibo, C.A.                           5/26/2021
      55-65      Ethical Bean LLC                                              5/26/2021
      55-66      evolv group llc                                               5/26/2021
      55-67      evolv venture capital fund LP                                 5/26/2021
      55-68      evolv ventures llc                                            5/26/2021
      55-69      Fall Ridge Partners LLP                                       5/26/2021
      55-70      Foodstar (China) Investments Company Limited                  5/26/2021
      55-71      Foodstar (Shanghai) Foods Co. Ltd.                            5/26/2021
      55-72      Foodstar Holdings Pte. Ltd.                                   5/26/2021
      55-73      Fruitlove LLC                                                 5/26/2021
      55-74      Fundacion Heinz                                               5/26/2021
      55-75      Garland BBQ Company                                           5/26/2021
      55-76      Gevalia Kaffe LLC                                             5/26/2021
      55-77      Golden Circle Limited                                         5/26/2021
      55-78      H. J. Heinz Belgium S.A.                                      5/26/2021
      55-79      H. J. Heinz Company Brands LLC                                5/26/2021
      55-80      H.J. Heinz Nigeria Limited                                    5/26/2021
      55-81      H.J. Heinz Asset Leasing Limited                              5/26/2021
      55-82      H.J. Heinz Asset Leasing Limited                              5/26/2021
      55-83      H.J. Heinz B.V.                                               5/26/2021
      55-84      H.J. Heinz Company (New Zealand) Limited                      5/26/2021
      55-85      H.J. Heinz Company Australia Limited                          5/26/2021
      55-86      H.J. Heinz Company (Ireland) Limited                          5/26/2021
      55-87      H.J. Heinz Company Limited                                    5/26/2021
      55-88      H.J. Heinz Distribution SAS                                   5/26/2021
      55-89      H.J. Heinz European Holding B.V.                              5/26/2021
      55-90      H.J. Heinz Finance UK PLC                                     5/26/2021
      55-91      H.J. Heinz Foods Spain S.L.U.                                 5/26/2021
      55-92      H.J. Heinz Foods UK Limited                                   5/26/2021
      55-93      H.J. Heinz France SAS                                         5/26/2021
      55-94      H.J. Heinz Frozen & Chilled Foods Limited                     5/26/2021
      55-95      H.J. Heinz Global Holding B.V.                                5/26/2021
      55-96      H.J. Heinz GmbH                                               5/26/2021
      55-97      H.J. Heinz Holding B.V.                                       5/26/2021
      55-98      H.J. Heinz Investments Coöperatief U.A.                       5/26/2021
      55-99      H.J. Heinz Ireland Holdings                                   5/26/2021
      55-100     H.J. Heinz Manufacturing Ireland Limited                      5/26/2021
      55-101      H.J. Heinz Manufacturing Spain S.L.U.                        5/26/2021
      55-102     H.J. Heinz Manufacturing UK Limited                           5/26/2021
      55-103      H.J. Heinz Nederland B.V.                                    5/26/2021
      55-104      H.J. Heinz Polska Sp. z o.o.                                 5/26/2021
      55-105      H.J. Heinz Supply Chain Europe B.V.                          5/26/2021
      55-106      H.J. Heinz US Brands LLC                                     5/26/2021
      55-107      Heinz (China) Investment Company Limited                     5/26/2021
      55-108      Heinz (China) Sauces & Condiments Co. Ltd.                   5/26/2021
      55-109      Heinz Africa and Middle East FZE                             5/26/2021
      55-110      Heinz Africa FZE                                             5/26/2021
      55-111      Heinz Asean Pte. Ltd.                                        5/26/2021
      55-112      Heinz Brasil S.A.                                            5/26/2021
      55-113      Heinz Colombia SAS                                           5/26/2021
      55-114      Heinz Credit LLC                                             5/26/2021
      55-115      Heinz Egypt LLC                                              5/26/2021
      55-116      Heinz Egypt Trading LLC                                      5/26/2021
      55-117      Heinz Europe Unlimited                                       5/26/2021
      55-118      Heinz Finance (Luxembourg) S.à r.l                           5/26/2021
      55-119     Heinz Foreign Investment Company                              5/26/2021
      55-120      Heinz Gida Anonim Sirketi                                    5/26/2021
      55-121      Heinz Hong Kong Ltd.                                         5/26/2021
      55-122      Heinz Investments (Cyprus) Ltd.                              5/26/2021
      55-123      Heinz Israel Ltd.                                            5/26/2021
      55-124      Heinz Italia S.p.A.                                          5/26/2021
      55-125      Heinz Japan Ltd.                                             5/26/2021
      55-126      Heinz Korea Ltd.                                             5/26/2021
      55-127      Heinz Mexico, S.A. de C.V.                                   5/26/2021
      55-128      Heinz Nutrition Foundation India                             5/26/2021
      55-129      Heinz Pakistan (Pvt.) Limited                                5/26/2021
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                                                 EXHIBIT A - Exclusion Report
          #                                     Name 1                          Postmark Date Assigned Claims
      55-130      Heinz Panama, S.A.                                           5/26/2021
      55-131      Heinz Purchasing Company                                     5/26/2021
      55-132      Heinz Qingdao Food Co., Ltd.                                 5/26/2021
      55-133      Heinz Shanghai Enterprise Services Co., Ltd.                 5/26/2021
      55-134      Heinz Single Service Limited                                 5/26/2021
      55-135      Heinz South Africa (Pty.) Ltd.                               5/26/2021
      55-136      Heinz Thailand Limited                                       5/26/2021
      55-137      Heinz Transatlantic Holding LLC                              5/26/2021
      55-138      Heinz UFE Ltd.                                               5/26/2021
      55-139      Heinz Vietnam Company Limited                                5/26/2021
      55-140      Heinz Wattie’s Limited                                       5/26/2021
      55-141      Heinz Wattie’s Pty Limited                                   5/26/2021
      55-142     Heinz Wattie’s Japan YK                                       5/26/2021
      55-143      Heinz-Noble, Inc.                                            5/26/2021
      55-144      Helco Services Limited                                       5/26/2021
      55-145      Highview Atlantic Finance (Barbados) SRL                     5/26/2021
      55-146      HJH Development Corporation                                  5/26/2021
      55-147      HJH Overseas LLC                                             5/26/2021
      55-148      Horizon FZCO                                                 5/26/2021
      55-149      Horizon UAE FZCO                                             5/26/2021
      55-150      HP Foods Holdings Limited                                    5/26/2021
      55-151      HP Foods International Limited                               5/26/2021
      55-152      HP Foods Limited                                             5/26/2021
      55-153      Hugo Canning Co. Pty Ltd.                                    5/26/2021
      55-154      HZ.I.L. Ltd.                                                 5/26/2021
      55-155     Industria Procesadora de Alimentos de Barcelona C.A.          5/26/2021
      55-156     International Gourmet Specialties LLC                         5/26/2021
      55-157     International Spirits Recipes, LLC                            5/26/2021
      55-158     Istituto Scotti Bassani per la Ricerca e e l’Informazione     5/26/2021
                 Scientfica e Nutrizionale
      55-159     Jacobs Road Limited                                           5/26/2021
      55-160      Kaiping Guanghe Fermented Bean Curd Co. Ltd.                 5/26/2021
      55-161      Kaiping Weishida Seasonings Co. Ltd.                         5/26/2021
      55-162      KHC Toronto Holdings ULC                                     5/26/2021
      55-163      KFG Management Services LLC                                  5/26/2021
      55-164      KH Caribbean SRL                                             5/26/2021
      55-165      KH Foodstar                                                  5/26/2021
      55-166      KH Gustav LLC                                                5/26/2021
      55-167      KH Investment Company LLC                                    5/26/2021
      55-168      Koninklijke De Rukiter B.V.                                  5/26/2021
      55-169      Kraft Foods Group Brands LLC                                 5/26/2021
      55-170      Kraft Foods Group Exports LLC                                5/26/2021
      55-171      Kraft Foods Group Puerto Rico LLC                            5/26/2021
      55-172      Kraft Heinz (Barbados) SRL                                   5/26/2021
      55-173      Kraft Heinz (Ireland) Ltd                                    5/26/2021
      55-174      Kraft Heinz Amsterdam B.V.                                   5/26/2021
      55-175      Kraft Heinz Argentina S.R.L.                                 5/26/2021
      55-176      Kraft Heinz Australia Pty Limited                            5/26/2021
      55-177      Kraft Heinz Bridgetown LP                                    5/26/2021
      55-178      Kraft Heinz Brasil COmercio, Distribuicao E Importacao Ltda. 5/26/2021

      55-179     Kraft Heinz Canada Holdings Company ULC                   5/26/2021
      55-180     Kraft Heinz Canada ULC                                    5/26/2021
      55-181     Kraft Heinz Chile Limitada                                5/26/2021
      55-182    Kraft Heinz Foods Company                                  5/26/2021
      55-183     Kraft Heinz Foods company LP                              5/26/2021
      55-184     Kraft Heinz Global Finance B.V.                           5/26/2021
      55-185     Kraft Heinz Holding LLC                                   5/26/2021
      55-186     Kraft Heinz India Private Limited                         5/26/2021
      55-187     Kraft Heinz Ingredients Corp.                             5/26/2021
      55-188     Kraft Heinz Intermediate Corporation I                    5/26/2021
      55-189     Kraft Heinz Intermediate Corporation II                   5/26/2021
      55-190     Kraft Heinz Investment Company LLC                        5/26/2021
      55-191     Kraft Heinz NoMa B.V.                                     5/26/2021
      55-192     Kraft Heinz Puerto Rico LLC                               5/26/2021
      55-193     Kraft Heinz Singapore Holding Pte Ltd.                    5/26/2021
      55-194     Kraft Heinz UK Limited                                    5/26/2021
      55-195     Kraft Heinz Vostok Ltd.                                   5/26/2021
      55-196     Kraft Heinz Yangjiang Foods Co., Ltd.                     5/26/2021
      55-197     Kraft New Services, LLC                                   5/26/2021
      55-198     La Bonne Cuisine Limited                                  5/26/2021
      55-199    Lea & Perrins Limited                                      5/26/2021
      55-200     Lea & Perrins LLC                                         5/26/2021
      55-201     LLC Heinz-Gergievsk                                       5/26/2021
      55-202     LLC Ivanovsky Kombinat Detskogo Pitaniya                  5/26/2021
      55-203     Master Chef Limited                                       5/26/2021
      55-204     Nature’s Delicious Foods Group LLC                        5/26/2021
      55-205     Noble Insurance Company Limited                           5/26/2021
      55-206     O.R.A. LLC                                                5/26/2021
      55-207     P.T. Heinz ABC Indonesia                                  5/26/2021
      55-208     Petroproduct-Otradnoye Limited                            5/26/2021
      55-209     Phenix Management Corporation                             5/26/2021
      55-210     Pollio Italian Cheese Company                             5/26/2021
      55-211     Primal Nutrition LLC                                      5/26/2021
      55-212     Pro-Share Limited                                         5/26/2021
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                                               EXHIBIT A - Exclusion Report
           #                                  Name 1                            Postmark Date Assigned Claims
      55-213      Pudliszki Sp. z o.o.                                         5/26/2021
      55-214      Renee’s Gourmet Foods Inc.                                   5/26/2021
      55-215      RINC Ltd.                                                    5/26/2021
      55-216      Salpak Pty Ltd.                                              5/26/2021
      55-217      Seven Seas Foods, Inc.                                       5/26/2021
      55-218      Sewickley LLC                                                5/26/2021
      55-219      The Bold Butcher, LLC                                        5/26/2021
      55-220      The Kraft Heinz Company Foundation                           5/26/2021
      55-221      The Yuban Coffee Company                                     5/26/2021
      55-222     Thompson & Hillds Ltd.                                        5/26/2021
      55-223      TNCOR Ltd.                                                   5/26/2021
      55-224      Top Taste Company Limited                                    5/26/2021
      55-225      Tsai Weng Ping Incorporated Limited                          5/26/2021
      55-226      Weishida (Nanjing) Foods Co. Ltd.                            5/26/2021
      55-227      Wellio, Inc.                                                 5/26/2021
      55-228      Wexford LLC                                                  5/26/2021
      55-229      WW Foods LLC                                                 5/26/2021
      55-230      XO Dairy, LLC                                                5/26/2021
      56.        PJ Food Service, Inc.                                         5/26/2021
      56-1       Papa John’s International, Inc.                               5/26/2021
      56-2       Papa John’s USA, Inc.                                         5/26/2021
      56-3       Trans Papa Logistics, Inc.                                    5/26/2021
      56-4       Preferred Marketing Solutions, Inc.                           5/26/2021
      56-5       Risk Services Corp.                                           5/26/2021
      56-6       Capital Delivery, Ltd.                                        5/26/2021
      56-7       DEPZZA, Inc.                                                  5/26/2021
      56-8       Colonel’s Limited, LLC                                        5/26/2021
      56-9       PJ Holdings, LLC                                              5/26/2021
      56-10      Star Papa, LP                                                 5/26/2021
      56-11      Papa John’s Pizza, Ltd.                                       5/26/2021
      56-12      PJ Minnesota, LLC                                             5/26/2021
      56-13      PJ Denver, LLC                                                5/26/2021
      56-14      PJ North Georgia, LLC                                         5/26/2021
      56-15      Papa John’s Franchising, LLC                                  5/26/2021
      56-16      Papa John’s USA – Georgia, Inc.                               5/26/2021
      57.        Sherwood Food Distributors, L.L.C.                            5/26/2021
      57-1       Del Mar Holding LLC                                           5/26/2021
      57-2       Del Mar Acquisition Inc.                                      5/26/2021
      57-3       Surfliner Holdings, Inc.                                      5/26/2021
      57-4       Sand Dollar Holdings, Inc.                                    5/26/2021
      57-5       Cascade Food Brokers, Inc.                                    5/26/2021
      57-6       LAMCP Capital, LLC                                            5/26/2021
      57-7       Gally Investments S de R.L. de C.V.                           5/26/2021
      57-8       SFD Acquisition LLC                                           5/26/2021
      57-9       SFD Transportation Corp.                                      5/26/2021
      57-10      SFD Company LLC                                               5/26/2021
      57-11      Southern Fresh Foods, LLC                                     5/26/2021
      57-12      Sherwood Food Distributors                                    5/26/2021
      57-13      Harvest Meat Company, Inc. d/b/a Harvest Food Distributors    5/26/2021
      57-14      Western Boxed Meat Distributors, Inc. a/k/a WBX               5/26/2021
      57-15      Hamilton Meat, LLC d/b/a Hamilton Meats & Provisions          5/26/2021
      58.        Costco Wholesale Corporation                                  5/26/2021
      59.        Focus Brands LLC                                              5/26/2021
      60.        The Fresh Market, Inc.                                        5/26/2021
      60-1       Burris Logistics                                              5/26/2021       X
      61.        Commonwealth of Puerto Rico                                   5/28/2021


      62.       Carl Buddig and Company                                    5/28/2021
      62-1      Carl Buddig & Co.                                          5/28/2021
      62-2      Carl Buddig - South Holland                                5/28/2021
      62-3      Carl Buddig & Co - Bedford                                 5/28/2021
      62-4      Carl Buddig/Ashland Cold Storage                           5/28/2021
      62-5      Old Wisconsin Sausage, Inc. Aka Old Wisconsin              5/28/2021
      62-6      Kingsford BBQ Meats                                        5/28/2021
      62-7      Butcher's Prime                                            5/28/2021
      62-8      Pitmaster's Pride                                          5/28/2021
      63.       Certco, Inc.                                               5/28/2021
      64.       WAB                                                        5/28/2021
      64-1      Whatabrands LLC                                            5/28/2021
      64-2      Whataburger Restaurants LLC                                5/28/2021
      64-3      WB Supply & Merchandising                                  5/28/2021
      65.       Sonic Industries Services Inc.                             5/28/2021
      65-1      McLane Foodservice, Inc.                                   5/28/2021       X
      65-2      Performance Food Group, Inc.                               5/28/2021       X
      65-3      Nicholas and Company                                       5/28/2021       X
      65-4      Merchants Foodservice                                      5/28/2021       X
      65-5      Shamrock Foods Company                                     5/28/2021       X
      66.       Buffalo Wild Wings, Inc.                                   5/28/2021
      66-1      McLane Foodservice, Inc.                                   5/28/2021       X
      67.       Jimmy John’s Buying Group SPV, LLC                         5/28/2021
      68.       Caesars Entertainment, Inc.                                5/28/2021
      68-1      Caesars Enterprise Services, LLC                           5/28/2021
      68-2      Parball Newco, LLC d/b/a Bally’s Las Vegas                 5/28/2021
      68-3      Boardwalk Regency LLC d/b/a Caesars Atlantic City          5/28/2021
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                                                  EXHIBIT A - Exclusion Report
             #                                  Name 1                            Postmark Date Assigned Claims
      68-4         Desert Palace LLC d/b/a Caesars Palace                        5/28/2021
      68-5         Flamingo Las Vegas Operating Company, LLC d/b/a Flamingo 5/28/2021
                   Las Vegas
      68-6         Harrah’s                                                      5/28/2021
      68-7         Harrah’s Arizona Corporation d/b/a Harrah’s Ak-Chin Hotel &   5/28/2021
                   Casino
      68-8         Harrah’s Atlantic City Operating Company, LLC d/b/a Harrah’s  5/28/2021
                   Resort Atlantic City
      68-9         Harrah’s NC Casino Company, LLC d/b/a Harrah’s Cherokee       5/28/2021
      68-10        Harveys Iowa Management Company, LLC d/b/a Harrah’s           5/28/2021
                   Council Bluffs Casino and Hotel
      68-11        Grand Casinos of Biloxi, LLC d/b/a Harrah’s Gulf Coast        5/28/2021
      68-12        Harrah’s Illinois LLC d/b/a Harrah’s Joliet Casino Hotel      5/28/2021
      68-13        Harrah’s Las Vegas, LLC d/b/a Harrah’s Casino Hotel, Las      5/28/2021
                   Vegas
      68-14        Harrah’s Laughlin, LLC d/b/a Harrah’s Laughlin                5/28/2021
      68-15        Harrah’s Bossier City Investment Company, LLC d/b/a Harrah’s 5/28/2021
                   Louisiana Downs
      68-16        Southern Illinois Riverboat/Casino Cruises LLC d/b/a Harrah’s 5/28/2021
                   Metropolis Casino
      68-17        Jazz Casino Company, L.L.C. d/b/a Harrah’s New Orleans        5/28/2021
                   Casino
      68-18        Harrah’s North Kansas City LLC d/b/a Harrah’s Kansas City     5/28/2021
      68-19        Chester Downs and Marina, LLC d/b/a Harrah’s Philadelphia     5/28/2021
                   Casino & Racetrack
      68-20        HCAL, LLC d/b/a Harrah’s Resort Southern California           5/28/2021
      68-21        Harveys Tahoe Management Company, LLC d/b/a Harveys           5/28/2021
                   Resort Hotel Casino
      68-22        Hoosier Park, LLC d/b/a Harrah’s Hoosier Park Racing & Casino 5/28/2021

      68-23       Caesars Baltimore Management Company, LLC d/b/a                5/28/2021
                  Horseshoe Baltimore
      68-24       Horseshoe Entertainment d/b/a Horseshoe Bossier City           5/28/2021
      68-25       Harveys BR Management Company, Inc. d/b/a Horseshoe            5/28/2021
                  Council Bluffs
      68-26       Horseshoe Hammond, LLC d/b/a Horseshoe Casino Hammond          5/28/2021

      68-27       Caesars Riverboat Casino, LLC d/b/a Horseshoe Southern         5/28/2021
                  Indiana
      68-28       Robinson Property Group LLC d/b/a Horseshoe Tunica             5/28/2021
      68-29       Centaur Acquisition, LLC d/b/a Indiana Grand Racing & Casino   5/28/2021

      68-30       Paris Las Vegas Operating Company, LLC d/b/a Paris Las         5/28/2021
                  Vegas
      68-31       PHWLV, LLC d/b/a Planet Hollywood Resort and Casino            5/28/2021
      68-32       Rio Properties, LLC d/b/a Rio All Suite Hotel and Casino       5/28/2021
      68-33       Corner Investment Company, LLC d/b/a The Cromwell              5/28/2021
      68-34       3535 LV Newco, LLC d/b/a The LINQ Hotel & Casino               5/28/2021
      69.         The Kroger Co.                                                 5/28/2021

      69-1        Kroger                                                         5/28/2021
      69-2        The Kroger Co.                                                 5/28/2021
      69-3        Kroger Limited Partnership I                                   5/28/2021
      69-4        KRGP Inc.                                                      5/28/2021
      69-5        Kroger Texas L.P.                                              5/28/2021
      69-6        The Kroger Co. of Michigan                                     5/28/2021
      69-7        Baker's                                                        5/28/2021
      69-8        City Market                                                    5/28/2021
      69-9        Copps Food Center                                              5/28/2021
      69-10       Dillon                                                         5/28/2021
      69-11       Dillon Companies, Inc.                                         5/28/2021
      69-12       FMJ, Inc.                                                      5/28/2021
      69-13       Food 4 Less                                                    5/28/2021
      69-14       Food 4 Less Holdings, Inc.                                     5/28/2021
      69-15       Fred Meyer                                                     5/28/2021
      69-16       Fred Meyer, Inc.                                               5/28/2021
      69-17       Fred Meyer Jewelers, Inc.                                      5/28/2021
      69-18       Fred Meyer Stores, Inc.                                        5/28/2021
      69-19       Fry's                                                          5/28/2021
      69-20       Gerbes                                                         5/28/2021
      69-21       Harris Teeter                                                  5/28/2021
      69-22       Harris Teeter, Inc.                                            5/28/2021
      69-23       Harris Teeter, LLC                                             5/28/2021
      69-24       Healthy Options, Inc.                                          5/28/2021
      69-25       Jay C Food Stores                                              5/28/2021
      69-26       Junior Food Stores of West Florida, Inc.                       5/28/2021
      69-27       Kessel                                                         5/28/2021
      69-28       Kessel Food Markets, Inc.                                      5/28/2021
      69-29       King Soopers                                                   5/28/2021
      69-30       Mariano's Fresh Market                                         5/28/2021
      69-31       Metro Market                                                   5/28/2021
      69-32       Owen's                                                         5/28/2021
      69-33       Pick 'n Save                                                   5/28/2021
      69-34       Pay Less Super Markets                                         5/28/2021
      69-35       QFC                                                            5/28/2021
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                                               EXHIBIT A - Exclusion Report
          #                                   Name 1                            Postmark Date Assigned Claims
      69-36      Ralphs                                                        5/28/2021
      69-37      Ralphs Grocery Company                                        5/28/2021
      69-38      Roundy's Inc.                                                 5/28/2021
      69-39      Ruler Foods                                                   5/28/2021
      69-40      Smith's                                                       5/28/2021
      69-41      Smith's Food & Drug Centers, Inc.                             5/28/2021
      69-42      THGP Co., Inc.                                                5/28/2021
      69-43      Albertsons                                                    5/28/2021
      69-44      Albertson's, Inc.                                             5/28/2021
      69-45      Albertsons LLC                                                5/28/2021
      69-46      Albertsons Companies LLC                                      5/28/2021
      69-47      Albertsons Companies, Inc.                                    5/28/2021
      69-48      Albertsons Market                                             5/28/2021
      69-49      Acme Markets                                                  5/28/2021
      69-50      American Stores Company                                       5/28/2021
      69-51      American Drug Stores Company                                  5/28/2021
      69-52      Amigos United                                                 5/28/2021
      69-53      Carr-Gottstein Foods Co.                                      5/28/2021
      69-54      Dominick's                                                    5/28/2021
      69-55      Dominick's Finer Foods, LLC                                   5/28/2021
      69-56      Extreme Value                                                 5/28/2021
      69-57      Extreme Value Centers                                         5/28/2021
      69-58      Genuardi'                                                     5/28/2021
      69-59      Genuardi's Family Markets LP                                  5/28/2021
      69-60      Haggen                                                        5/28/2021
      69-61      Haggen Food & Pharmacy                                        5/28/2021
      69-62      Jerseymaid Milk Products                                      5/28/2021
      69-63      Jewel Foods                                                   5/28/2021
      69-64      Jewel Foods, Inc.                                             5/28/2021
      69-65      Jewel Food Stores                                             5/28/2021
      69-66      Lucerne Foods, Inc.                                           5/28/2021
      69-67      Market Street                                                 5/28/2021
      69-68      New Alberson's Inc.                                           5/28/2021
      69-69      Pak 'N Sav Foods                                              5/28/2021
      69-70      Pavilion                                                      5/28/2021
      69-71      Pavilions Place                                               5/28/2021
      69-72      Randall's                                                     5/28/2021
      69-73      Randall's Food & Drugs LP                                     5/28/2021
      69-74      Safeway                                                       5/28/2021
      69-75      Safeway Inc.                                                  5/28/2021
      69-76      Safeway Food & Drug                                           5/28/2021
      69-77      Shaw's Supermarkets, Inc.                                     5/28/2021
      69-78      Simon David                                                   5/28/2021
      69-79      Star Market                                                   5/28/2021
      69-80      The Vons Companies, Inc.                                      5/28/2021
      69-81      Tom Thumb Food & Drugs                                        5/28/2021
      69-82      United Express                                                5/28/2021
      69-83      United Supermarkets, LLC                                      5/28/2021
      69-84      Vons                                                          5/28/2021
      69-85      Vons Grocery Company                                          5/28/2021
      69-86      Hy-Vee                                                        5/28/2021
      69-87      Hy-Vee, Inc.                                                  5/28/2021
      69-88      Perishable Distributors of Iowa, Ltd.                         5/28/2021
      69-89      Topco Associates LLC                                          5/28/2021       X
      69-90      Topco Associates, Inc.                                        5/28/2021       X
      69-91      Save Mart Supermarkets                                        5/28/2021
      69-92      Save Mart                                                     5/28/2021
      69-93      FoodMaxx                                                      5/28/2021
      69-94      Lucky Supermarkets                                            5/28/2021
      69-95      MaxxValue Foods                                               5/28/2021
      69-96      Pollo Operations, Inc.                                        5/28/2021
      69-97      Pollo Franchise, Inc.                                         5/28/2021
      69-98      Taco Cabana, Inc.                                             5/28/2021
      69-99      Fiesta Restaurant Group, Inc.                                 5/28/2021
      69-100     Performance Food Group, Inc. d/b/a Performance Foodservice 5/28/2021          X

      70.       McDonald’s Corporation                                     5/28/2021
      70-1      The HAVI Group LP                                          5/28/2021       X
      70-2      HAVI Global Solutions LLC                                  5/28/2021       X
      70-3      Armada Supply Chain Solutions, LLC                         5/28/2021       X
      70-4      ATEC Systems, Ltd.                                         5/28/2021       X
      70-5      IBD Foods, Inc.                                            5/28/2021       X
      70-6      OSI Group, LLC                                             5/28/2021       X
      70-7      Lopez Foods, Inc.                                          5/28/2021       X
      70-8      Dorada Poultry LLC                                         5/28/2021       X
      70-9      DeOro Foods LLC                                            5/28/2021       X
      70-10     The Martin-Brower Company, L.L.C.                          5/28/2021       X
      70-11     McDonald’s USA, LLC                                        5/28/2021
      70-12     McDonald’s Restaurants of Alabama, Inc.                    5/28/2021
      70-13     McDonald’s Restaurants of Alaska, Inc.                     5/28/2021
      70-14     McDonald’s Restaurants of Arizona, Inc.                    5/28/2021
      70-15     McDonald’s Restaurants of Arkansas, Inc.                   5/28/2021
      70-16     McDonald’s Restaurants of California, Inc.                 5/28/2021
      70-17     McDonald’s Restaurants of Colorado, Inc.                   5/28/2021
      70-18     McDonald’s Restaurants of Connecticut, Inc.                5/28/2021
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                                               EXHIBIT A - Exclusion Report
           #                                  Name 1                            Postmark Date Assigned Claims
      70-19      McDonald’s Restaurants of Delaware, Inc.                      5/28/2021
      70-20      McDonald’s Restaurants of Florida, Inc.                       5/28/2021
      70-21      McDonald’s Restaurants of Georgia, Inc.                       5/28/2021
      70-22      McDonald’s Restaurants of Hawaii, Inc.                        5/28/2021
      70-23      McDonald’s Restaurants of Idaho, Inc.                         5/28/2021
      70-24      McDonald’s Restaurants of Illinois, Inc.                      5/28/2021
      70-25      McDonald’s Restaurants of Indiana, Inc.                       5/28/2021
      70-26      McDonald’s Restaurants of Iowa, Inc.                          5/28/2021
      70-27      McDonald’s Restaurants of Kansas, Inc.                        5/28/2021
      70-28      McDonald’s Restaurants of Kentucky, Inc.                      5/28/2021
      70-29      McDonald’s Restaurants of Louisiana, Inc.                     5/28/2021
      70-30      McDonald’s Restaurants of Maine, Inc.                         5/28/2021
      70-31      McDonald’s Restaurants of Maryland, Inc.                      5/28/2021
      70-32      McDonald’s Restaurants of Massachusetts, Inc.                 5/28/2021
      70-33      McDonald’s Restaurants of Michigan, Inc.                      5/28/2021
      70-34      McDonald’s Restaurants of Minnesota, Inc.                     5/28/2021
      70-35      McDonald’s Restaurants of Mississippi, Inc.                   5/28/2021
      70-36      McDonald’s Restaurants of Missouri, Inc.                      5/28/2021
      70-37      McDonald’s Restaurants of Montana, Inc.                       5/28/2021
      70-38      McDonald’s Restaurants of Nebraska, Inc.                      5/28/2021
      70-39      McDonald’s Restaurants of Nevada, Inc.                        5/28/2021
      70-40      McDonald’s Restaurants of New Hampshire, Inc.                 5/28/2021
      70-41      McDonald’s Restaurants of New Jersey, Inc.                    5/28/2021
      70-42      McDonald’s Restaurants of New Mexico, Inc.                    5/28/2021
      70-43      McDonald’s Restaurants of New York, Inc.                      5/28/2021
      70-44      McDonald’s Restaurants of North Carolina, Inc.                5/28/2021
      70-45      McDonald’s Restaurants of North Dakota, Inc.                  5/28/2021
      70-46      McDonald’s Restaurants of Ohio, Inc.                          5/28/2021
      70-47      McDonald’s Restaurants of Oklahoma, Inc.                      5/28/2021
      70-48      McDonald’s Restaurants of Oregon, Inc.                        5/28/2021
      70-49      McDonald’s Restaurants of Pennsylvania, Inc.                  5/28/2021
      70-50      McDonald’s Restaurants of Rhode Island, Inc.                  5/28/2021
      70-51      McDonald’s Restaurants of South Carolina, Inc.                5/28/2021
      70-52      McDonald’s Restaurants of South Dakota, Inc.                  5/28/2021
      70-53      McDonald’s Restaurants of Tennessee, Inc.                     5/28/2021
      70-54      McDonald’s Restaurants of Texas, Inc.                         5/28/2021
      70-55      McDonald’s Restaurants of Utah, Inc.                          5/28/2021
      70-56      McDonald’s Restaurants of Vermont, Inc.                       5/28/2021
      70-57      McDonald’s Restaurants of Virginia, Inc.                      5/28/2021
      70-58      McDonald’s Restaurants of Washington, Inc.                    5/28/2021
      70-59      McDonald’s Restaurants of West Virginia, Inc.                 5/28/2021
      70-60      McDonald’s Restaurants of Wisconsin, Inc.                     5/28/2021
      70-61      McDonald’s Restaurants of Wyoming, Inc.                       5/28/2021
      71.        Target Corporation                                            5/28/2021
      71-1       AMC (S) Pte. Ltd. (Singapore)                                 5/28/2021
      71-2       AMC Dominican Republic, S.A. (Dominican Republic)             5/28/2021
      71-3       AMC El Salvador, S.A. (El Salvador)                           5/28/2021
      71-4       AMC Honduras, S.A. (Honduras)                                 5/28/2021
      71-5       AMC Nicaragua, S.A. (Nicaragua)                               5/28/2021
      71-6       Amcrest Corporation (NY)                                      5/28/2021
      71-7       Amcrest France Sarl (France)                                  5/28/2021
      71-8       Associated Merchandising Corporation Pensionsverwaltung       5/28/2021
                 GmBH (Germany)
      71-9       Associated Merchandising Korea Corporation (Korea)            5/28/2021
      71-10      Dayton Credit Company (MN)                                    5/28/2021
      71-11      Dayton Development Company (MN)                               5/28/2021
      71-12      DBC, LLC (AK)                                                 5/28/2021
      71-13      Eighth Street Development Company (MN)                        5/28/2021
      71-14      Glendale West, LLC (CA)                                       5/28/2021
      71-15      ITC Sales and Procurement, LLC (MN)                           5/28/2021
      71-16      Lafayette Nominee Owner, LLC (DE)                             5/28/2021
      71-17      PP&E, LLC (TX)                                                5/28/2021
      71-18      Red Tail LLC (DE)                                             5/28/2021
      71-19      STL of Nebraska, Inc. (MN)                                    5/28/2021
      71-20      SuperTarget Liquor of Massachusetts, Inc. (MA)                5/28/2021
      71-21      SuperTarget Liquor of Missouri, Inc. (MN)                     5/28/2021
      71-22      SuperTarget Liquor of Texas, Inc. (TX)                        5/28/2021
      71-23      Target Bank (UT banking corporation)                          5/28/2021
      71-24      Target Brands, Inc. (MN)                                      5/28/2021
      71-25      Target Bridges, Inc. (DE)                                     5/28/2021
      71-26      Target Canada Co. (Nova Scotia)                               5/28/2021
      71-27      Target Canada Property LP (Ontario)                           5/28/2021
      71-28      Target Capital Corporation (MN)                               5/28/2021
      71-29      Target Clinic Medical Associates Florida, LLC (MN)            5/28/2021
      71-30      Target Clinic Medical Associates Maryland, LLC (MD)           5/28/2021
      71-31      Target Commercial Interiors, Inc. (MN)                        5/28/2021
      71-32      Target Connect, Inc. (MN)                                     5/28/2021
      71-33      Target Corporate Services, Inc. (MN)                          5/28/2021
      71-34      Target Corporation (MN)                                       5/28/2021
      71-35      Target Corporation India Private Limited (India)              5/28/2021
      71-36      Target Customs Brokers, Inc. (MN)                             5/28/2021
      71-37      Target Enterprise, Inc. (MN)                                  5/28/2021
      71-38      Target Food, Inc. (MN)                                        5/28/2021
      71-39      Target Foundation (a MN not-for-profit organization)          5/28/2021
      71-40      Target General Merchandise, Inc. (MN)                         5/28/2021
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                                              EXHIBIT A - Exclusion Report
          #                                 Name 1                             Postmark Date Assigned Claims
      71-41     Target Global Trade, Inc. (MN)                                5/28/2021
      71-42     Target Jefferson Boulevard, LLC (CA)                          5/28/2021
      71-43     Target Medford Urban Renewal, LLC (NJ)                        5/28/2021
      71-44     Target Millville Urban Renewal, LLC (NJ)                      5/28/2021
      71-45     Target National Bank (a national banking association)         5/28/2021
      71-46     Target Receivables Corporation (MN)                           5/28/2021
      71-47     Target Receivables LLC (MN)                                   5/28/2021
      71-48     Target Services, Inc. (MN)                                    5/28/2021
      71-49     Target Sourcing Services Asia Limited (Hong Kong)             5/28/2021
      71-50     Target Sourcing Services Co., Ltd. (Shanghai)                 5/28/2021
      71-51     Target Sourcing Services Guatemala Sociedad Anonima           5/28/2021
                (Guatemala)
      71-52     Target Sourcing Services Hong Kong Limited (Hong Kong)        5/28/2021
      71-53     Target Sourcing Services India Private Limited (India)        5/28/2021
      71-54     54. Target Sourcing Services Italy S.r.l. (Italy)             5/28/2021
      71-55     55. Target Sourcing Services Limited (Hong Kong)              5/28/2021
      71-56     56. Target Sourcing Services Pacific Limited (Hong Kong)      5/28/2021
      71-57     Target Stafford Urban Renewal, LLC (NJ)                       5/28/2021
      71-58     Target Stores, Inc. (MN)                                      5/28/2021
      71-59     Target Wilson Yard QALICB, LLC (DE)                           5/28/2021
      71-60     TCC Corporation S.a.r.l. (Luxembourg)                         5/28/2021
      71-61     TCDC, Inc. (MN)                                               5/28/2021
      71-62     TG Holdings (Bermuda)                                         5/28/2021
      71-63     TG Holdings Canada LP (Ontario)                               5/28/2021
      71-64     TGT Energy LLC (TX)                                           5/28/2021
      71-65     The Associated Merchandising Corporation (NY)                 5/28/2021
      71-66     TSS One Limited (Hong Kong)                                   5/28/2021
      71-67     TSS Two Limited (Hong Kong)                                   5/28/2021
      71-68     Walsh Bros. (AZ)                                              5/28/2021
      71-69     Westbury Holding Company (MN)                                 5/28/2021
      71-70     C&S Wholesale Grocers, Inc.                                   5/28/2021       X
      72        Restaurant Supply Chain Solutions, LLC                        5/28/2021       X
      73.       Associated Grocers of the South, Inc.                         5/28/2021
      74.       Wakefern Food Corp.                                           5/28/2021
      74-1      Price Rite                                                    5/28/2021
      74-2      ShopRite                                                      5/28/2021
      74-3      The Fresh Grocer                                              5/28/2021
      74-4      The Dearborn Marker                                           5/28/2021
      75        Supervalu, Inc.                                               5/28/2021
      75-1      Acme Markets, Inc.                                            5/28/2021
      75-2      Albertson's, Inc.                                             5/28/2021
      75-3      Advantage Logistics - Southeast, Inc.                         5/28/2021
      75-4      Advantage Logistics Southwest, Inc.                           5/28/2021
      75-5      Advantage Logistics USA East L.L.C.                           5/28/2021
      75-6      Advantage Logistics USA West L.L.C.                           5/28/2021
      75-7      American Commerce Centers, Inc.                               5/28/2021
      75-8      American Drug Stores, Inc.                                    5/28/2021
      75-9      American Drug Stores LLC                                      5/28/2021
      75-10     American Procurement and Logistics Company LLC                5/28/2021
      75-11     American Stores Company                                       5/28/2021
      75-12     Arden Hills 2003 LLC                                          5/28/2021
      75-13     Associated Grocers Acquisition Company                        5/28/2021
      75-14     Associated Grocers of Florida, Inc.                           5/28/2021
      75-15     Billings Distribution Company, LLC                            5/28/2021
      75-16     Billings Equipment Company, Inc.                              5/28/2021
      75-17     Billings Operations Company, LLC                              5/28/2021
      75-18     Bismarck Distribution Company, LLC                            5/28/2021
      75-19     Bismarck Equipment Company, Inc.                              5/28/2021
      75-20     Bismarck Operations Company, LLC                              5/28/2021
      75-21     Blaine North 1996 L.L.C.                                      5/28/2021
      75-22     Bloomington 1998 L.L.C.                                       5/28/2021
      75-23     Blue Nile Advertising, Inc.                                   5/28/2021
      75-24     Bristol Farms                                                 5/28/2021
      75-25     Burnsville 1998 L.L.C.                                        5/28/2021
      75-26     Butson Enterprises of Vermont, Inc.                           5/28/2021
      75-27     Butson's Enterprises of Massachusetts, Inc.                   5/28/2021
      75-28     Butson's Enterprises, Inc.                                    5/28/2021
      75-29     Cambridge 2006 L.L.C.                                         5/28/2021
      75-30     Centralia Holdings, LLC                                       5/28/2021
      75-31     Champaign Distribution Company, LLC                           5/28/2021
      75-32     Champaign Equipment Company, Inc.                             5/28/2021
      75-33     Champaign Operations Company, LLC                             5/28/2021
      75-34     Champlin 2005 L.L.C.                                          5/28/2021
      75-35     Coon Rapids 2002 L.L.C.                                       5/28/2021
      75-36     Crown Grocers, Inc.                                           5/28/2021
      75-37     Cub Foods, Inc.                                               5/28/2021
      75-38     Cub Stores, LLC                                               5/28/2021
      75-39     Eagan 2008 L.L.C.                                             5/28/2021
      75-40     Eagan 2014 L.L.C.                                             5/28/2021
      75-41     Eastern Beverages, Inc.                                       5/28/2021
      75-42     Eastern Region Management, LLC                                5/28/2021
      75-43     Fargo Distribution Company, LLC                               5/28/2021
      75-44     Fargo Equipment Company, Inc.                                 5/28/2021
      75-45     Fargo Operations Company, LLC                                 5/28/2021
      75-46     FF Acquisition, L.L.C.                                        5/28/2021
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          #                                    Name 1                           Postmark Date Assigned Claims
      75-47      Foodarama LLC                                                 5/28/2021
      75-48      Forest Lake 2000 L.L.C.                                       5/28/2021
      75-49      Fridley 1998 L.L.C.                                           5/28/2021
      75-50      Grocers Capital Company                                       5/28/2021
      75-51      Hastings 2002 L.L.C.                                          5/28/2021
      75-52      Hazelwood Distribution Company, Inc.                          5/28/2021
      75-53      Hazelwood Distribution Holdings, Inc                          5/28/2021
      75-54      Hopkins Distribution Company, LLC                             5/28/2021
      75-55      Hopkins Equipment Company, Inc.                               5/28/2021
      75-56      Hopkins Operations Company, LLC                               5/28/2021
      75-57      Hornbacher's, Inc.                                            5/28/2021
      75-58      International Distributors Grand Bahama Limited               5/28/2021
      75-59      Inver Grove Heights 2001 L.L.C.                               5/28/2021
      75-60      Jewel Foods, Inc                                              5/28/2021
      75-61      Jewel Food Stores                                             5/28/2021
      75-62      Keatherly, Inc                                                5/28/2021
      75-63      Keltsch Bros., Inc                                            5/28/2021
      75-64      Lakeville 2014 L.L.C                                          5/28/2021
      75-65      Lithia Springs Holdings, LLC                                  5/28/2021
      75-66      Maplewood East 1996 L.L.C.                                    5/28/2021
      75-67      Market Company, Ltd.                                          5/28/2021
      75-68      Market Improvement Company                                    5/28/2021
      75-69      Monticello 1998 L.L.C.                                        5/28/2021
      75-70      Moran Foods, Inc.                                             5/28/2021
      75-71      NAFTA Industries Consolidated, Inc.                           5/28/2021
      75-72      NAFTA Industries, Ltd.                                        5/28/2021
      75-73      NC&T Supermarkets, Inc.                                       5/28/2021
      75-74      Nevada Bond Investment Corp.                                  5/28/2021
      75-75      New Albertson's, Inc.                                         5/28/2021
      75-76      Northfield 2002 L.L.C.                                        5/28/2021
      75-77      Oglesby Distribution Company, LLC                             5/28/2021
      75-78      Oglesby Equipment Company, Inc.                               5/28/2021
      75-79      Oglesby Operations Company, LLC                               5/28/2021
      75-80      Plymouth 1998 L.L.C.                                          5/28/2021
      75-81      Preferred Products, Inc.                                      5/28/2021
      75-82      Richfood, Inc.                                                5/28/2021
      75-83      Savage 2002 L.L.C.                                            5/28/2021
      75-84      SAVE-A-LOT Food Stores, Ltd.                                  5/28/2021
      75-85      Save-A-Lot Tyler Group, LLC                                   5/28/2021
      75-86      Scott's Food Stores, Inc.                                     5/28/2021
      75-87      SFW Holding Corp.                                             5/28/2021
      75-88      Shakopee 1997 L.L.C.                                          5/28/2021
      75-89      Shaws Supermarkets, Inc.                                      5/28/2021
      75-90      Shop 'N Save East Prop, LLC                                   5/28/2021
      75-91      Shop 'N Save East, LLC                                        5/28/2021
      75-92      Shop 'N Save Prop, LLC                                        5/28/2021
      75-93      Shop 'N Save St. Louis, Inc.                                  5/28/2021
      75-94      Shop 'N Save Warehouse Foods, Inc.                            5/28/2021
      75-95      Shoppers Food Warehouse Corp.                                 5/28/2021
      75-96      Shorewood 2001 L.L.C.                                         5/28/2021
      75-97      Silver Lake 1996 L.L.C.                                       5/28/2021
      75-98      Southstar LLC                                                 5/28/2021
      75-99      Stevens Point Distribution Company, LLC                       5/28/2021
      75-100     Stevens Point Equipment Company, Inc.                         5/28/2021
      75-101     Stevens Point Operations Company, LLC                         5/28/2021
      75-102     Sunflower Markets, LLC                                        5/28/2021
      75-103     Super Market Operators of America, Inc.                       5/28/2021
      75-104     Super Rite Foods Equipment Company, Inc.                      5/28/2021
      75-105     Super Rite Foods Operations Company, LLC                      5/28/2021
      75-106     Super Rite Foods, Inc.                                        5/28/2021
      75-107     SUPERVALU ASSIST, Inc.                                        5/28/2021
      75-108     SUPERVALU Enterprise Services, Inc.                           5/28/2021
      75-109     SUPERVALU Enterprises, Inc.                                   5/28/2021
      75-110     SUPERVALU Foundation                                          5/28/2021
      75-111     SUPERVALU Gold, LLC                                           5/28/2021
      75-112     SUPERVALU Holdco, Inc.                                        5/28/2021
      75-113     SUPERVALU Holdings Equipment Company, Inc.                    5/28/2021
      75-114     SUPERVALU Holdings Operations Company, LLC                    5/28/2021
      75-115     SUPERVALU Holdings PA Equipment Company, Inc.                 5/28/2021
      75-116     SUPERVALU Holdings PA Operations Company, LLC                 5/28/2021
      75-117     SUPERVALU Holdings, Inc.                                      5/28/2021
      75-118     SUPERVALU Holdings-PA LLC                                     5/28/2021
      75-119     SUPERVALU INC.                                                5/28/2021
      75-120     SUPERVALU India, Inc.                                         5/28/2021
      75-121     SUPERVALU Licensing, LLC                                      5/28/2021
      75-122     SUPERVALU Merger Sub, Inc.                                    5/28/2021
      75-123     SUPERVALU Penn Equipment Company, Inc.                        5/28/2021
      75-124     SUPERVALU Penn Operations Company, LLC                        5/28/2021
      75-125     SUPERVALU Penn, LLC                                           5/28/2021
      75-126     SUPERVALU Pharmacies, Inc.                                    5/28/2021
      75-127     SUPERVALU Receivables Funding Corporation                     5/28/2021
      75-128     SUPERVALU Services USA, Inc.                                  5/28/2021
      75-129     SUPERVALU Transportation, Inc.                                5/28/2021
      75-130     SUPERVALU TTSJ, LLC                                           5/28/2021
      75-131     SUPERVALU WA, L.L.C.                                          5/28/2021
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           #                                  Name 1                            Postmark Date Assigned Claims
      75-132     SUPERVALU Wholesale Equipment Company, Inc.                   5/28/2021
      75-133     SUPERVALU Wholesale Holdings, Inc.                            5/28/2021
      75-134     SUPERVALU Wholesale Operations, Inc.                          5/28/2021
      75-135     SUPERVALU Wholesale, Inc.                                     5/28/2021
      75-136     SV Markets, Inc.                                              5/28/2021
      75-137     SVU Legacy, LLC                                               5/28/2021
      75-138     TC TTSJ Aviation, Inc.                                        5/28/2021
      75-139     TC Michigan LLC                                               5/28/2021
      75-140     TTSJ Aviation, Inc.                                           5/28/2021
      75-141     Ultra Foods, Inc.                                             5/28/2021
      75-142     Unified Grocers, Inc.                                         5/28/2021
      75-143     Unified International, Inc.                                   5/28/2021
      75-144     Valu Ventures 2, Inc.                                         5/28/2021
      75-145     W. Newell & Co.                                               5/28/2021
      75-146     W. Newell & Co. Equipment Company, Inc.                       5/28/2021
      75-147     W. Newell & Co., LLC                                          5/28/2021
      75-148     Wetterau Insurance Co. Ltd.                                   5/28/2021
      75-149     Woodford Square Associates Limited Partnership                5/28/2021
      75-150     WSI Satellite, Inc.                                           5/28/2021
      75-151     Valu Ventures 2, Inc.                                         5/28/2021
      76         Dollar General Corporation                                    5/28/2021
      76-1       Dolgencorp, LLC                                               5/28/2021
      76-2       Nash Finch Company                                            5/28/2021       X
      76-3       Super Food Services, Inc.                                     5/28/2021       X
      76-4       MDV SpartanNash, LLC                                          5/28/2021       X
      77         Meijer, Inc.                                                  5/28/2021
      77-1       Meijer Distribution, Inc.                                     5/28/2021
      78         Publix Super Markets, Inc.                                    5/28/2021
      78-1       Morning Song LLC                                              5/28/2021
      78-2       GreenWise Market                                              5/28/2021
      79         Raley's, Inc.                                                 5/28/2021
      79-1       Raley's Superstores                                           5/28/2021
      79-2       Bel Air Markets                                               5/28/2021
      79-3       Nob Hill Foods                                                5/28/2021
      80         Quality Sausage Company LLC                                   5/28/2021
      81         Compass Group, Inc.                                           5/26/2021
      81-1       Ace Foods, Inc.                                               5/26/2021
      81-2       BenchWorks, Inc.                                              5/26/2021
      81-3       Canteen One, Inc.                                             5/26/2021
      81-4       Canteen One, LLC                                              5/26/2021
      81-5       Coastal Food Service, Inc.                                    5/26/2021
      81-6       Community Living Holdings, LLC                                5/26/2021
      81-7       Unidine Corporation                                           5/26/2021
      81-8       The Food and Management Enterprise Corporation                5/26/2021
      81-9       Fame Food Management, Inc .                                   5/26/2021
      81-10      Unidine Nevada, LLC                                           5/26/2021
      81-11      Unidine Lifestyles, LLC                                       5/26/2021
      81-12      Coreworks, LLC                                                5/26/2021
      81-13      Coffee Distributing Corp.                                     5/26/2021
      81-14      Compass Group Holdings (BVI) Limited                          5/26/2021
      81-15      Compass LCS, LLC                                              5/26/2021
      81-16      Compass LV, LLC                                               5/26/2021
      81-17      Compass ND, LLC                                               5/26/2021
      81-18      Compass One, LLC                                              5/26/2021
      81-19      Food Works of Mexico, S. De R.L.                              5/26/2021
      81-20      Food Works Services of Mexico, S. De R.L.                     5/26/2021
      81-21      Compass Paramount, LLC                                        5/26/2021
      81-22      Compass Two, LLC                                              5/26/2021
      81-23      Compass HE Services, LLC                                      5/26/2021
      81-24      Compass 2K12 Services, LLC                                    5/26/2021
      81-25      Food Works of Mexico, S. De R.L.                              5/26/2021
      81-26      Food Works Services of Mexico, S. De R.L.                     5/26/2021
      81-27      Convenience Foods International, Inc.                         5/26/2021
      81-28      Crothall Services Group                                       5/26/2021
      81-29      Crothall Healthcare Inc.                                      5/26/2021
      81-30      Eurest Services, Inc.                                         5/26/2021
      81-31      Crothall Facilities Management Inc.                           5/26/2021
      81-32      Southeast Service Corporation                                 5/26/2021
      81-33      Crothall Services Canada, Inc.                                5/26/2021
      81-34      Eversource LLC                                                5/26/2021
      81-35      CulinArt Group, Inc.                                          5/26/2021
      81-36      CulinArt, Inc.                                                5/26/2021
      81-37      Sacco Dining Services, Inc                                    5/26/2021
      81-38      CulinArt of California, Inc.                                  5/26/2021
      81-39      Williamson Hospitality Services, Inc.                         5/26/2021
      81-40      Cuyahoga Dining Services, Inc.                                5/26/2021
      81-41      Flik International Corp                                       5/26/2021
      81-42      Flik One, LLC                                                 5/26/2021
      81-43      Foodbuy, LLC                                                  5/26/2021
      81-44      Concierge Consulting Services, LLC                            5/26/2021
      81-45      SpenDifference, LLC                                           5/26/2021
      81-46      Parlay Solutions, LLC                                         5/26/2021
      81-47      Gourmet Dining, LLC                                           5/26/2021
      81-48      Hudson Yards Catering LLC                                     5/26/2021
      81-49      Inter Pacific Management, Inc.                                5/26/2021
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          #                                    Name 1                           Postmark Date Assigned Claims
      81-50      Levy GP Corporation                                           5/26/2021
      81-51      Levy Premium Foodservice Limited Partnership                  5/26/2021
      81-52      Levy Holdings GP, Inc.                                        5/26/2021
      81-53      Levy Restaurant Limited Partnership                           5/26/2021
      81-54      Levy Oklahoma, Inc.                                           5/26/2021
      81-55      Levy Restaurant Limited Partnership                           5/26/2021
      81-56      Levy Premium Foodservice Limited Partnership Food Services 5/26/2021
                 Management by MGR, LLC
      81-57      Park Concession Management, LLC                               5/26/2021
      81-58      Atlanta Sports Catering                                       5/26/2021
      81-59      Orlando Foodservice Partners                                  5/26/2021
      81-60      Chicago Restaurant Partners, LLC                              5/26/2021
      81-61      Levy Kansas, LLC                                              5/26/2021
      81-62      Levy LA Concessions, LLC                                      5/26/2021
      81-63      Learfield Levy Foodservice, LLC                               5/26/2021
      81-64      Convention Hospitality Partners                               5/26/2021
      81-65      Professional Sports Catering, LLC                             5/26/2021
      81-66      Levy Prom Golf, LLC                                           5/26/2021
      81-67      Rank + Rally, LLC                                             5/26/2021
      81-68      Curiology, LLC                                                5/26/2021
      81-69      Levy Maryland, LLC                                            5/26/2021
      81-70      Superior Limited Partnership                                  5/26/2021
      81-71      Restaurant One Limited Partnership                            5/26/2021
      81-72      Levy Illinois Limited Partnership                             5/26/2021
      81-73      Levy Premium Foodservice, L.L.C.                              5/26/2021
      81-74      Levy Food Service Limited Partnership                         5/26/2021
      81-75      Levy (Events) Limited Partnership                             5/26/2021
      81-76      Levy World Limited Partnership                                5/26/2021
      81-77      Levy R&H Limited Partnership                                  5/26/2021
      81-78      Levy (IP) Limited Partnership                                 5/26/2021
      81-79      Morrison Management Specialists, Inc.                         5/26/2021
      81-80      Compass Group North America Investments No. 2 (formerly       5/26/2021
                 known as Curfewbell)
      81-81      Custom Management Corporation of Pennsylvania                 5/26/2021
      81-82      Morrison's Custom Management Corporation of Pennsylvania      5/26/2021
      81-83      Morrison's Health Care of Texas, Inc.                         5/26/2021
      81-84      Morrison Investment Company, Inc.                             5/26/2021
      81-85      Foodbuy, LLC                                                  5/26/2021
      81-86      HHP-MMS JV1, LLC                                              5/26/2021
      81-87      Newport Food Service, Inc.                                    5/26/2021
      81-88      PFM Kansas, Inc. ·                                            5/26/2021
      81-89      ProDine, Inc.                                                 5/26/2021
      81-90      Quality Food Management, Inc.                                 5/26/2021
      81-91      RAC Holdings Corp.                                            5/26/2021
      81-92      Mazzone Hospitality, LLC                                      5/26/2021
      81-93      Restaurant Associates Corp.                                   5/26/2021
      81-94      Restaurant Associates, Inc.                                   5/26/2021
      81-95      Restaurant Associates LLC                                     5/26/2021
      81-96      Restaurant Services, Inc.                                     5/26/2021
      81-97      RA Tennis Corp.                                               5/26/2021
      81-98      RANYST, Inc.                                                  5/26/2021
      81-99      RA Patina, LLC                                                5/26/2021
      81-100     Restaurant Services I, LLC                                    5/26/2021
      81-101     RA Patina Management, LLC                                     5/26/2021
      81-102     S-82,LLC                                                      5/26/2021
      81-103     S.H.R.M. Catering Services, Inc.                              5/26/2021
      81-104     Statewide Services, Inc.                                      5/26/2021
      81-105     KIJIK/ESS, LLC                                                5/26/2021
      81-106     Statewide/Gana-a'Yoo Joint Venture                            5/26/2021
      81-107     Thompson Hospitality Services LLC                             5/26/2021
      81-108     Thompson Facilities Services LLC University Food Services,    5/26/2021
                 LLC
      81-109     TouchPoint Support Services, LLC                              5/26/2021
      81-110     University Food Services, LLC                                 5/26/2021
      81-111     University Food Services, Inc.                                5/26/2021
      81-112     Vendlink, LLC                                                 5/26/2021
      81-113     VenueNext, Inc.                                               5/26/2021
      81-114     Wolfgang Puck Catering and Events, LLC                        5/26/2021
      81-115     WPL, LLC                                                      5/26/2021
      81-116     Wolfgang Puck Catering & Events of Texas, LLC                 5/26/2021
      81-117     B&I Catering, LLC                                             5/26/2021
      81-118     CMCA Catering, LLC                                            5/26/2021
      81-119     C&B Holdings, LLC                                             5/26/2021
      81-120     H&H Catering, LP.                                             5/26/2021
      81-121     GLV Restaurant Management Associates, LLC                     5/26/2021
      81-122     H&H Catering, L.P.                                            5/26/2021
      81-123     PCHI Catering, LLC                                            5/26/2021
      81-124     WP Casual Catering, LLC                                       5/26/2021
      81-125     Waveguide LLC                                                 5/26/2021
      81-126     Yorkmont Four, Inc.                                           5/26/2021
      81-127     Bon Appetit Management Co.                                    5/26/2021
      81-128     BAMCO Restaurants of Texas LLC                                5/26/2021
      81-129     Bon Appetit Maryland, LLC                                     5/26/2021
      81-130     Cosmopolitan Catering, LLC                                    5/26/2021
      82         Nestle Purina PetCare Company                                 5/24/2021
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      82-1         Nestle USA, Inc.                                              5/24/2021
      83           Conagra Brands, Inc.                                          5/25/2021
      83-1         Pinnacle Foods, Inc.                                          5/25/2021
      84           Dot Foods, Inc.                                               5/27/2021
      85           N T Foods, Inc.                                               5/28/2021
